   Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 1 of 85. PageID #: 4759




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                  )   CASE NO.: 1:15-CV-01046
                                           )
           Plaintiff,                      )
                                           )   JUDGE SOLOMON OLIVER, JR.
     vs.                                   )
                                           )   NOTICE SUBMITTING MONITORING
CITY OF CLEVELAND                          )   TEAM’S SIXTH SEMIANNUAL REPORT
                                           )
           Defendant.                      )
                                           )
                                           )




     The Cleveland Police Monitoring Team respectfully submits its Sixth Semiannual Report.



                                                Respectfully submitted,



                                                /s/ Matthew Barge

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    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 2 of 85. PageID #: 4760




Cleveland
Police                            Sixth Semiannual Report
Monitoring
Team                                                                    March 2019
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 3 of 85. PageID #: 4761
                              Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019


TABLE OF CONTENTS

I.         A NOTE FROM THE MONITORING TEAM                                                         2

II.        THE ROLE OF THE MONITORING TEAM & THIS REPORT                                           4

III.       COMMUNITY ENGAGEMENT AND BUILDING TRUST                                                 7
   A.       Community Police Commission (“CPC”)                                                    7
   B.       District Policing Committees                                                          11

IV.        COMMUNITY & PROBLEM-ORIENTED POLICING                                                  14

V.         BIAS-FREE POLICING                                                                     20

VI.        USE OF FORCE                                                                           24
  A.        Officer Use of Force Principles & Policy                                              24
  B.        Use of Force Investigation and Review                                                 30

VII.       CRISIS INTERVENTION                                                                    33

VIII.      SEARCH AND SEIZURE                                                                     39

IX.        ACCOUNTABILITY                                                                         42
   A.       Internally Discovered Misconduct                                                      42
   B.       Office of Professional Standards (“OPS”)                                              45
   C.       Police Review Board (“PRB”)                                                           51
   D.       Discipline and Disciplinary Hearings                                                  53

X.         TRANSPARENCY & OVERSIGHT                                                               56
      A.    Police Inspector General                                                              56
      B.    Data Collection and Analysis                                                          57
      C.    Public Availability of CDP-Related Information                                        59

XI.        OFFICER ASSISTANCE & SUPPORT                                                           61
   A.       Training                                                                              61
   B.       Equipment & Resources                                                                 65
   C.       Recruitment & Hiring                                                                  67
   D.       Performance Evaluations and Promotions                                                70
   E.       Staffing                                                                              71

XII.       SUPERVISION                                                                            74
  A.        First-Line Supervisors                                                                74
  B.        Officer Intervention Program                                                          76
  C.        Body-Worn Cameras                                                                     78

XIII.      UPCOMING COMPLIANCE & OUTCOME ASSESSMENTS                                              81




                                                   i
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 4 of 85. PageID #: 4762
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019


I.      A NOTE FROM THE MONITORING TEAM

This Sixth Semiannual Report finds the Cleveland Division of Police and City of Cleveland at an important
moment of transition in the Consent Decree process—with important, early outcomes evident; major policy work
concluding; and the task of active implementation increasingly occupying the focus of the Division’s efforts.

First, in the Division’s first year under the Court-approved use of force policies, use of force, crime, officer
injuries, and subject injuries are all down. Specifically, in 2018, the number of force incidents declined by 29
percent compared to 2017. Meanwhile, Part I crime was down in all major categories but rape. All of this happened
even as the number of officer injuries occurring during force incidents decreased by 22 percent and the total
number of officers injured overall decreased by nearly 20 percent. And in 2018, 20 percent of subjects were injured
during use of force incidents, compared to 37 percent of subjects injured in force incidents in 2017.

This report makes clear that a decrease in force incidents alone does not establish compliance. However often
officers use force, it must comply with policy and be appropriately identified and addressed by the Division.
Likewise, and although the Team has no reason to believe that force is being under-reported, this Court will need
separate sign-off that force is being uniformly and appropriately reported in all instances where it used.

Nevertheless, the overall data available indicate that the implementation of the Decree-required force policies
coincided with notable increases in officer and public safety. The Monitoring Team commends the men and
women of the Division of Police, who appear to be doing their work differently on a day-to-day-basis and applying
the objectives and specific requirements of the new force policies.

At the same time, a number of major plans and initiatives have been finalized. As of February 2019, the
Division completed, and the Court has approved, the major, Decree-required plans on community and problem-
oriented policing, recruitment and hiring, and the operation of the District Policing Committees. A plan on the
Division’s staffing is also pending before the Court. These completed plans represent a significant amount of hard
work by the Division of Police and input from the Cleveland community. Together, they provide a detailed
framework for how policing will evolve over the coming years in Cleveland as the Division and City actively work
to implement the vision and objectives that they set forth.

Work continues with respect to basic operating policies in some remaining areas—the most important of which
relate to stops, searches, and arrests; the investigation and review of use of force incidents; and the investigation
and adjudication of officer misconduct. The Parties and Monitoring Team anticipate that these various policies,
operational manuals, and other materials will be completed and submitted to the Court in the upcoming reporting
period. At that point, while some additional policy development will be necessary in a few remaining areas
(relating, for instance, to the Division’s Early Intervention System), most of the foundational policy development
and process refinement work will have been completed.

Thus, this report finds the Division on the cusp of a major turning point. For purposes of continued progress and
compliance with the Decree, the task shifts from establishing how the Division and its officers must operate to
ensuring that they do, in fact, perform according to the expectations established by the Decree and the various
Court-approved policies and plans. This is the point at which paper must be transformed into
sustained, ongoing practice—through the completion of training, the day-to-day efforts of the Division’s




                                                         2
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 5 of 85. PageID #: 4763
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



personnel, and the ongoing work of CDP supervisors and command staff to ensure adherence to new
expectations.

The Division still has a distance to travel until it is in Substantial and Effective Compliance with the whole of the
Decree. The words of policies and plans will need to be translated into action across time and interactions on the
streets of Cleveland. Sustained focus and work will remain critical. Indeed, some other jurisdictions that have
ultimately complied with similar settlement agreements have sometimes found this stage of ongoing, systemic
implementation and compliance to be the most challenging.

Nevertheless, this Report finds the City and Division of Police arriving at a noteworthy and critical milestone that
is the culmination of substantial work and community input and participation. The remainder of the report details
the progress made and measured in the past six months, the key areas of progress that remain, and where the
Parties will focus in the next reporting period.

                                                                                   Cleveland Police Monitoring Team
                                                                                                      March 5, 2019




                                                         3
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 6 of 85. PageID #: 4764
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019


II.     THE ROLE OF THE MONITORING TEAM & THIS REPORT

As with the Monitoring Team’s previous reports, the role of the Monitoring Team and of this report are useful to
summarize at the outset. Under the terms of the Consent Decree between the United States and the City of
Cleveland (the “City”) (collectively, the “Parties”) involving the Cleveland Division of Police, the Court-appointed
Monitoring Team must “assess and report” to the Court whether the Decree’s requirements “have been
implemented, and whether this implementation is resulting in constitutional and effective policing, professional
treatment of individuals, and increased community trust . . . . ”1 This is the Monitoring Team’s sixth semiannual
report.2 It addresses the reporting period of July 2018 through February 2019.

The Monitoring Team is an “agent of the Court” that is “subject to the supervision and orders of the Court.”3 The
role of the Team is to assess, independently and on behalf of Judge Solomon Oliver, Jr., whether CDP and the City
of Cleveland have reached compliance with the various and diverse requirements of the Consent Decree. Thus,
as the Monitoring Team has previously outlined, it “is not an employee, contractor, or any other type of agent” of
either the City of Cleveland or the United States Department of Justice (“DOJ”).4 Instead, it works for the Court.

As part of that charge, the Team assists in facilitating Consent Decree implementation by providing technical
assistance and Counsel to the Division of Police and City of Cleveland. Although its ultimate task is to inform the
Court and DOJ about the City’s compliance with the Consent Decree, the Team provides ongoing assistance
geared at ensuring effective, efficient, and expeditious progress.

A.      The Fourth-Year Monitoring Plan

The upcoming Fourth-Year Monitoring Plan principally addresses the period of February 1, 2019 through January
31, 2020, with a handful of dates past January 31, 2020.5

B.      The Purpose and Form of This Report

In its Third Semiannual Report, the Monitoring Team began summarizing the status of the City’s compliance with
each paragraph of the Consent Decree. Although providing “a paragraph-by-paragraph accounting of the general
state of the City’s compliance . . . runs the risk of being an over-simplification,” these summary characterizations
remain useful markers for understanding progress over time.6

Thus, each major section of this Sixth Semiannual Report summarizes the Monitoring Team’s generalized
conclusions about the status of compliance by describing the state of each area as one of the following:



1
  Dkt. 7-1 ¶ 350, available at https://www.justice.gov/crt/case-document/file/908536/download.
2
  Id. at ¶ 375 (requiring semiannual reports).
3
  First Semiannual Report at 14.
4
  Id.
5
  The Monitoring Team anticipates that the Fourth-Year Monitoring Plan will be filed with the Court shortly after
the submission of this Report.
6
  Third Semiannual Report at 9.



                                                         4
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 7 of 85. PageID #: 4765
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



        Non-Compliance. The City or Division has not yet complied with the relevant provision of the
        Consent Decree. This includes instances in which the City or Division’s work or efforts have
        begun but cannot yet be certified by the Monitoring Team as compliant with a material
        component of the requirement.

        Evaluation Deferred. This category reflects those limited instances where work in a given
        area has been intentionally and affirmatively deferred in order to work on other, necessary
        prerequisites. In these areas, the City or Division could have made more progress in a given area
        but, for project management reasons, have appropriately focused attention on other areas.
        Although this still means that the City has a distance to travel to reach General Compliance with
        the term of the Consent Decree, the intentional and affirmative decision to postpone focus on a
        given area for project management and implementation purposes is sufficiently different to
        warrant a separate designation in some cases.

        Partial Compliance. The City or Division has made sufficient initial strides or sufficient
        partial progress toward compliance toward a material number of key components of the
        provision of the Consent Decree—but has not achieved operational compliance. This includes
        instances where policies, processes, protocols, trainings, systems, or the like exist on paper but
        do not exist or function in day-to-day practice. It may capture a wide range of compliance states
        or performance, from the City or Division having taken only very limited steps toward
        operational compliance to being nearly in operational compliance.

        Operational Compliance. The City or Division has made notable progress to technically
        comply with the requirement and/or policy, process, procedure, protocol, training, system, or
        other mechanism of the Decree such that it is in existence or practice operationally—but has not
        yet demonstrated, or not yet been able to demonstrate, meaningful adherence to or effective
        implementation, including across time, cases, and/or incidents. This includes instances where a
        given reform is functioning but has not yet been shown, or an insufficient span of time or volume
        of incidents have transpired, to be effectively implemented in a systemic manner.

        General Compliance. The City or Division has complied fully with the requirement and the
        requirement has been demonstrated to be meaningfully adhered to and/or effectively
        implemented across time, cases, and/or incidents. This includes instances where it can be shown
        that the City or Division has effectively complied with a requirement fully and systemically.

The same caveats that have previously applied to the use of these summary categories remain applicable. First,
“Non-Compliance” or “Partial Compliance” do not automatically mean that the City or CDP have not made good-
faith efforts or commendable strides toward compliance. It might, instead, signify that initial work has either not
yet begun or reached a sufficiently critical point where progress can be considered to have been made.

Second, “Partial Compliance” requires more than taking some limited, initial steps toward compliance with a
requirement. It instead requires that the City or Division have made “sufficient, material progress toward




                                                        5
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 8 of 85. PageID #: 4766
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



compliance” that “has graduated from the stages of initial work to more well-developed and advanced refinement
of various reforms.”7

Third, these summary terms do not appear in the Consent Decree. The Team employs them in order to synthesize
and summarize the report’s conclusions. Relatedly, compliance with individual paragraphs of the Decree is
necessary for the larger, overall “Substantial and Effective Compliance” with the whole of the Consent Decree but
it is not the same thing. Ultimately, “Substantial and Effective Compliance” with the Consent Decree will be
reached when “the City either has complied with all material requirements of this Agreement, or has achieved
sustained and continuing improvement in constitutional policing, as demonstrated pursuant to this Agreement’s
outcome measures,”8 “by a preponderance of the evidence.”9

Fourth, the charts that summarize progress in each area also condense the requirements of each paragraph rather
than reprinting the entire Consent Decree in the context of this report. Any imprecision detected or confusion
created by these condensed or summarized requirements is unintended and, in any event, can be cured with
reference to the original Consent Decree language itself.10 The charts primarily cover paragraphs 14 through 340
of the Consent, but other paragraphs also contain requirements that the City must meet.11

Following the release of the Third Semiannual Report, some community members, and CDP members, inquired
about the basis for some of our summary conclusions. We reiterate that these overall “compliance status”
conclusions at the start of each chapter do not replace the more rigorous quantitative and qualitative assessments
of how CPD is performing over time:

        [T]he Monitoring Team bases its assessments on its current understandings, knowledge, and
        information gained through ongoing work and discussion with CDP, the Parties, and other
        stakeholders. The assessments are informal to the extent that not all of them are necessarily
        informed by the type of exhaustive compliance and outcome measurements that are a critical
        component of the Consent Decree—and the summary determinations do not take the place of
        these more structured, systemic analyses. The intent is to provide a bottom-line sense of where
        the Division is on the road to compliance. Ongoing, rigorous quantitative and qualitative
        assessments will provide a more comprehensive picture as work under the Consent Decree
        proceeds.12

The Team’s characterizations of progress should ultimately be viewed as a synthesis or bottom-line accounting of
the substantive discussions of each major Consent Decree area contained within this report.




7
   Third Semiannual Report at 10.
8
   Dkt. 7-1 ¶ 456 (emphasis added).
9
   Id. at ¶ 397.
10
    See id.
11
   See Third Semiannual Report at 10.
12
    Id. at 11.



                                                        6
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 9 of 85. PageID #: 4767
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019


III.     COMMUNITY ENGAGEMENT AND BUILDING TRUST

 Paragraph                                                                   Status of
                                                                             Compliance
 14. CDP creation of “formal and informal mechanisms that facilitate ongoing PARTIAL
 communication between CDP and the many Cleveland communities it serves.”    COMPLIANCE

A.       Community Police Commission (“CPC”)

 Paragraph                                                                        Status of Compliance
 15. Creation of CPC to make recommendations, work with Cleveland communities to GENERAL
 develop recommendations, and “report to the City and community as a whole and to COMPLIANCE
 provide transparency” on reforms
 16. Establishment of CPC Selection Panel to select CPC Commissioners; composition               GENERAL
 of CPC; and periodic meetings with Chief of Police to “provide recommendations.”                COMPLIANCE
 17(a). “[H]old public meetings across the City, complete an assessment of CDP’s bias-           GENERAL
 free policing policies, practices, and training, and make recommendations.”                     COMPLIANCE
 17(b). “[A]ssist as appropriate in . . . development of training related to bias-free           GENERAL
 policing and cultural competency.”                                                              COMPLIANCE
 17(c). “[O]n an ongoing basis, assess CDP’s community activities” and “make                     PARTIAL
 recommendations” related to “community engagement” and “community confidence”                   COMPLIANCE
 17(d). “[O]n an ongoing basis, review CDP’s civilian oversight structure to determine           NON-
 if there are changes it recommends for improving CDP’s accountability and                       COMPLIANCE
 transparency”
 17(e). “[P]erform other function[s] as set out in this Agreement.”                              PARTIAL
                                                                                                 COMPLIANCE
 18(a). “[R]eview and comment on CDP’s policies and practices related to use of force,           PARTIAL
 search and seizure, and data collection and retention.”                                         COMPLIANCE
 18(b). [R]eview and comment on CDP’s implementation of initiative, programs, and                PARTIAL
 activities that are intended to support reform.”                                                COMPLIANCE
 18(c). “[H]old public meetings to discuss the Monitor’s reports and to receive                  OPERATIONAL
 community feedback concerning CDP’s compliance with this Agreement.”                            COMPLIANCE
 19. “The City will provide access to all information requested by the Commission                PARTIAL
 related to its mandate, authority, and duties unless it is law enforcement sensitive,           COMPLIANCE
 legally restricted, or would disclose a personnel action.”
 20. CPC “will issue [at least annual] reports,” which the “City will post . . . to the City’s   OPERATIONAL
 website.”                                                                                       COMPLIANCE
 21. “The City will consider and timely respond in writing to the Commission’s                   PARTIAL
 recommendations for improvements,” which “will be posted to the City’s website.”                COMPLIANCE
 22. CPC budget listed as “separate line item” to ensure “sufficient independence and            GENERAL
 resources.”                                                                                     COMPLIANCE




                                                           7
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 10 of 85. PageID #: 4768
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019


Background

The Community Police Commission (“CPC” or “Commission”) is a mechanism created through the Consent
Decree “to promote public trust and confidence in the CDP” and to “make recommendations to the Chief of Police
and the City, including the Mayor and City Council” based on the “values and priorities of Cleveland residents.”13
The CPC is intended to serve as a conduit between the Consent Decree reform process and Cleveland’s diverse
communities, and the scope of its charge is far-reaching. Under the Decree, the Commission has the broad
authority to “review and comment” on the Division’s “policies and practices related to use of force, search, and
seizure, and data collection and retention” as well as any “initiatives, programs, and activities that are intended to
support reform.”14

Where the Commission Stands Now

Community Policing, Staffing, and Recruitment & Hiring Plans

During the current reporting period, the CPC facilitated a substantial community input period for three major and
interrelated CDP plans: the Community and Problem-Oriented Policing (“CPOP”) Plan, the Recruitment and
Hiring Plan, and the Staffing Plan. The CPC’s engagement on these Plans, as well as its concurrent engagement
on the Division’s revised Search and Seizure policies, was arguably the largest and most significant of the
Commission’s numerous contributions to ensure that Cleveland residents are able to shape the ongoing
implementation of the federal Consent Decree.

The Commission received drafts of the CPOP and related Plans on May 15, 2018. After the CPC and other
community groups requested additional time, the Parties and Monitoring Team, in a motion to the Court, agreed
to extend the close of the public input period from August 10, 2018 to September 28, 2018 given the Plans’
complexity and the importance in having community values reflected in these Plans in particular.15 The
Commission thus had more than four months for planning and executing a strategy for gathering Cleveland
residents’ opinions and feedback.

The Commission’s comments were thoughtful and helpful. They were based on research, analysis, broad-based
engagement, and stakeholder-specific outreach. The preparation and work to gather, synthesize, and report on
the Cleveland community’s thoughts and concerns were commendable.

In parallel with the City’s own survey, the CPC created a separate tool to gauge residents’ opinions on the
documents. The Commission ultimately received 268 completed surveys by the time it submitted its final report.
In addition to hosting Commission meetings where attendees could openly discuss and comment on the
substance of the three Plans, the Commission’s CPOP Working Group worked with stakeholders to gather their
input on the Plans.




13
   Dkt. 7-1. at ¶ 15.
14
   Id. at ¶¶ 18(a)-(b).
15
   Dkt. 209.



                                                          8
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 11 of 85. PageID #: 4769
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



The CPC returned an initial report of CPOP recommendations on August 10, 2018 (the original closing date of
the public comment period) to the Parties and Monitoring Team. On September 28, 2018, the Commission
provided its second and final report of CPOP recommendations, building on the initial August 10 set of
recommendations. The final report drew its conclusions from quantitative data collected from the completed
surveys as well as from qualitative comments by community members and groups. Subsequently, Commissioners
met with representatives of CDP, DOJ, the City, and the Monitoring Team to discuss the recommendations and
how they might be incorporated in the final version of the three plans.

Search and Seizure Policies

During the current reporting period, the Commission also facilitated public input on the CDP’s revised Search and
Seizure policies, which address police encounters and stops—a fundamental type of police interaction with
residents. The Commission’s Search and Seizure work group was led by Commissioner Gordon Friedman. It also
benefitted from the involvement of subject matter experts from legal academia and legal advocacy groups.

In February 2018, well before drafts of the Search and Seizure policies were prepared, CPC staff conducted an
educational campaign to highlights general considerations for community members. Because case law around
stops, arrests, and the Fourth Amendment is notoriously complicated, the CPC elected to teach residents basic
components of constitutional law and highlight specific policy choices that departments have made across the
country to meeting attendees on March 27, 2018. A video of the presentation was posted on the CPC’s website
for those unable to attend.16

Once policy drafts were available on August 15, 2018, the Search and Seizure Work Group began its substantive
engagement on the policies. They facilitated discussions with community members at the CPC’s September and
October meetings. On October 27, the CPC also hosted a separate Search and Seizure Policy Forum at Cuyahoga
Community College’s Jerry Sue Thornton Center.

CPC shared its final report on Search and Seizure policy recommendations to the City on November 14, with
support from key stakeholder groups such as the ACLU of Ohio, the Cleveland Branch of the NAACP, and the
Legal Aid Society of Cleveland. Subsequently, CPC representatives met with the Division, DOJ, and Monitoring
Team to detail their recommendations, share their origins and rationale, and discuss their potential feasibility. The
Parties and Monitoring Team anticipate that the Search and Seizure policies will be finalized in the upcoming
reporting period.

Ongoing Organizational Challenges

Since its creation, the Commission has regularly put forward strong work product—distilling community
comment and making a number of well-informed, substantive recommendations—despite serious and ongoing
organizational challenges. As reported in the Fifth Semiannual Report, the CPC has undergone significant staffing
changes after a series of employment allegations among various staff members. Since the prior Semiannual
Report, an attorney hired by the City, in consultation with the Commission, to conduct an investigation into

16
    Cleveland Community Police Commission, “Police Encounters                        or   Search    and    Seizure,”
https://www.clecpc.org/search-seizure-18 (last visited Jan. 25, 2019).



                                                         9
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 12 of 85. PageID #: 4770
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



various allegations relating to the CPC’s Executive Director, concluded that none of the accusations rose to the
level of violating City policies. Not long afterward, all staff members aside from the Executive Director resigned.

Along with the full-time staff, there also has been substantial change in the volunteer commissioners. Richard
Knoth, who was sworn in as a Commissioner on December 21, 2017, became one of the CPC’s two co-chairs in
June 2018 alongside Reverend Dr. Yvonne Conner. In July, two commissioners, Amanda King and Dylan Sellers,
resigned from the Commission. There are now two vacancies in the commission. The City has taken appropriate
steps to re-empanel the Decree-required Selection Committee to fill those vacancies in early 2019. Because the
Consent Decree limits the terms of service of commissioners to a four-year term,17 the Commission and City have
begun contemplating how to address the upcoming vacancies created by the expiration of commissioner terms in
September 2019.

SAI, an organizational consultant hired by the City to review the Commission’s operations and assist the CPC by
creating a “roadmap” forward, completed a final report during the current reporting period. In its December 11,
2018 report, SAI catalogued many organizational challenges plaguing the CPC. Those findings included that the
working relationships between and among the Commission’s volunteer commissioners and full-time staff
continue to be difficult – reflecting personality conflicts, unclear lines of authority, and suboptimal leadership and
management. These kinds of strains make the substantive work of the CPC’s Decree-mandated charge—already
a significant and involved commitment—that much more difficult.

Progress and Tasks that Remain

Having successfully completed a substantial public comment period for a host of major CDP plans and policies,
the CPC finds itself at a crossroads, both in terms of fulfilling its substantive charge and ensuring the staffing and
organizational structure necessary to provide the originally-contemplated forum for bringing people of varying
backgrounds, views, and opinions together to talk about what policing in Cleveland should look like going
forward.

The creation of policies and plans mandated by the Decree are coming to a conclusion, and most of the core
policies are slated to be completed in the upcoming reporting period. Now that those opportunities are naturally
coming to a close, it will be an open question—one that the CPC must resolve for itself—as to how it plans to
fulfill its mandate to “make recommendations . . . on policies and practices related to community and problem-
oriented policing, bias-free policing, and police transparency” and “to work with the many communities that make
up Cleveland” to develop police practices recommendations.18 As this report elsewhere makes clear, the creation
of policies or plans ultimately amounts to a written statement of intent by the Division and City about how it
wants to police. Now that CDP has committed itself to a certain set of expectations, the Commission will need to
determine how it can best “leverage the experience and expertise of the people of Cleveland . . . to ensure that
CDP recognizes and operates in a manner consistent with cooperative community understanding and
engagement.”19



17
   Dkt. 7-1 at ¶ 16.
18
   Id. at ¶ 15.
19
   Id.



                                                         10
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 13 of 85. PageID #: 4771
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



More than that, the Commission must continue to attempt to restore public confidence in itself as an institution
that facilitates community input on policing issues. As the Monitoring Team reported in its Fifth Semiannual
Report, “the Commission will have to find a way to resolve internal disagreements and focus on the challenging
tasks of engaging as much of the community as possible on the vital conversations about how policing will function
in Cleveland in the future.”20 That entails ensuring a professional, respectful working relationship among the
Commissioners and between the volunteer Commission and the full-time staff.

To that end, Commissioners have indicated that the CPC has begun to implement some of the recommendations
in SAI’s December report, such as the expedited hiring of new staff and the implementation of weekly calls
between the Executive Director and the two co-Chairs. The Monitoring Team is hopeful that the CPC’s actions
will help to ensure that it has the sustained organizational capacity to perform its fundamental function: “to
promote public trust and confidence in the CDP” and to “make recommendations to the Chief of Police and the
City, including the Mayor and City Council” based on the “values and priorities of Cleveland residents.”21

B.         District Policing Committees

     Paragraph                                                                                 Status of
                                                                                               Compliance
     23. Facilitation of “regular communication and cooperation between CDP and PARTIAL
     community leaders at the local level,” with District Policing Committees meeting “at COMPLIANCE
     minimum, every quarter.”
     24. CPC, CDP, and Community Relations Board (“CRB”) will “develop a mechanism PARTIAL
     to recruit and expand” Committee membership.” CDP “will work with [Community COMPLIANCE
     Police] Commission to select officers for each District Policing Committee.”
     25. CDP “will work closely with District Policing Committees to identify strategies to PARTIAL
     address crime and safety issues in their District,” considering and addressing identified COMPLIANCE
     priorities.
     26. “At least annually, each District Policing Committee will present its identified NON-
     strategies, concerns, and recommendations” to the CPC, with CDP officer who is COMPLIANCE
     Committee member presenting to CPC “CDP’s assessment of ways to address” the
     recommendations.”

Background

The Decree calls for the expansion—building on existing structures—of five District Policing Committees, or one
for each of the five police districts within the city of Cleveland.22 Those Committees, which existed long before
the Consent Decree process, must work to “identify strategies to address crime and safety issues in their
District.”23 This is all the more critical given that few Cleveland residents surveyed by the Monitoring Team
reported being aware of or comfortable with the District Policing Committees. Some community members

20
   Fifth Semiannual Report at 14.
21
   Dkt. 7-1 at ¶ 15.
22
   Id. at ¶¶ 23-24.
23
   Id. at ¶ 25.



                                                       11
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 14 of 85. PageID #: 4772
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



specifically felt that DPCs functioned to serve the needs of a select few in Cleveland, not all residents of
Cleveland.24

Where the DPCs Stand

In the current reporting period, the Parties and Monitoring Team finalized a DPC Plan that details the Division’s
plans to enhance and expand the DPCs so that they are better attended, better facilitated, and ultimately reflect
the true makeup of a given CDP police district. The Monitoring Team submitted the DPC Plan for the Court’s
approval on February 14, 2019.25 The Court approved the Plan on February 20, 2019.26

As before (when they were known as District Community Relations Committees), DPCs will hold monthly
meetings that are open to all to “communicate about topics such as crime statistics, strategies to address problems,
upcoming events and initiatives, CDP policy and practices, and any matter that may arise.”27

Consistent with the Division’s shift to an organizational philosophy of community and problem-oriented policing,
“District Commanders will use the DPC meetings as opportunities to identify, assess and collaboratively solve
problems in their District.”28 Further, “[t]he DPCs will assess the Division’s overall performance and its CPOP
activities by surveying community members.”29

Under the approved Plan, each District’s DPC is to be co-chaired by the District Commander and a civilian
resident. They will be supported by each District’s three Community Engagement Officers (“CEOs”), who are
not responsible for patrol and do not respond to calls for service. Accordingly, the DPC Plan assigns them
responsibilities such as participating in their respective DPC, seeking partnerships from a cross-section of the
community, assisting with collaborative problem-solving initiatives, attending community meetings, and bridging
officers with community members.30

To expand the DPCs’ audience and membership, as called for by the Decree, the DPC Plan contemplates a number
of activities, including use of an “asset map” to identify community groups and associations that are currently not
involved with DPCs; intentional outreach to communities such as youth, homeless, and LGBTQ; and participation
in events hosted by communities. Further, the Plan acknowledges that “DPCs must also account for community
members that may be unable or unwilling to participate in monthly meetings.”31 To do so, the DPCs regularly will,
among other things, add new discussion items to the agenda that are requested by community members; move



24
   Cleveland Police Monitoring Team, Community & Problem-Oriented Policing: Summary of Community Feedback
&                   Recommendations,          July            2017,               available               at
https://docs.wixstatic.com/ugd/8a5c22_df0cbe2bc67d4e1a8ad3ac9c7098257b.pdf (last visited February 28, 2019).
25
   Dkt. 235.
26
   Dkt. 238.
27
   Dkt. 235-1 at 3.
28
   Id. at 4.
29
   Id.
30
   Id. at 6-7.
31
   Id. at 10.



                                                        12
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 15 of 85. PageID #: 4773
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



the meeting time and/or location to increase accessibility and focus on different areas’ concerns; and ask residents
about other reasons for the lack of participation and modify meetings where possible to address those concerns.32

The DPC Plan also contemplates that the District Commanders, CEOs, CRB District representatives DPC co-
chairs, and the Bureau of Community Policing Commander will meet bi-annually to discuss strategies to increase
participation at each DPC and their effectiveness.33

Progress and Tasks that Remains

Selection of DPC Officers

Under Paragraph 24 of the Consent Decree, each DPC will include “at least one CDP officer from that District”
and the Division will work with the CPC “to select officers for each District Policing Committee.”34 As the DPC
Plan is implemented, the Division and CPC will need to collaborate to identify and select appropriate officers.

Implementation of the DPC Plan

As described above, the Parties have completed a long process to design a new DPC Plan that outlines a number
of important organizational changes. Going forward, the Monitoring Team will be attending DPC meetings
regularly to assess whether the Division has implemented the contemplated changes. More than that, the Team
will be looking to see if the changes, upon implementation, are having a positive impact on the attendance and
participation at DPC meetings.




32
   Id.
33
   Id. at 13.
34
   Dkt. 7-1 at ¶ 24.



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        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 16 of 85. PageID #: 4774
                                    Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



IV.         COMMUNITY & PROBLEM-ORIENTED POLICING

     Paragraph                                                                                     Status of Compliance
     27. Implementation of “comprehensive and integrated community and problem-                    PARTIAL
     oriented policing model” and consultation with CPC regarding the model.                       COMPLIANCE
     28. Ensuring that “mission statement reflects [the Division’s] commitment to                  OPERATIONAL
     community oriented policing” / “integrat[ing] community and problem-oriented                  COMPLIANCE /
     policing principles into its management, policies and procedures, recruitment, training,      PARTIAL
     personnel evaluations, resource deployment, tactics, and accountability systems.”             COMPLIANCE
     29. Ensuring “that officers are familiar with the geographic areas they serve,” “engage       EVALUATION
     in problem identification,” and “work proactively . . . to address quality of life issues.”   DEFERRED
     30. Initial and annual in-service community and problem-oriented policing training            EVALUATION
     “adequate in quality, quantity, type, and scope” that addresses specifically-identified       DEFERRED
     areas.
     31. Maintenance of “collaborative partnerships with a broad spectrum of community             PARTIAL
     groups,” including CDP meetings with community organizations and District Policing            COMPLIANCE
     Committees.
     32. CDP “meet[ing] with members of the community in each District on a monthly                PARTIAL
     basis and “solic[itation of] participation from a broad cross-section of community            COMPLIANCE
     members in each District” to “identify problems and other areas of concern . . . and
     discuss responses and solutions.”
     33. Development and implementation of “systems to monitor officer outreach to the             PARTIAL
     community” that CDP “will use . . . to analyze . . . whether officers are partnering with a   COMPLIANCE
     broad cross-section of community members to develop and implement cooperative
     strategies that build mutual respect and identify and solve problems.”
     34. “At least annually, CDP will present the results” of paragraph 33 analysis “broken        NON-
     out by District in a publicly-available community policing report” that describes             COMPLIANCE
     problems, solutions, and obstacles. Report provided to Commission and posted on
     CDP website.

Background

The Consent Decree requires that the Division develop and implement a “comprehensive and integrated
community and problem-oriented policing model” to “promote and strengthen partnerships with the community
. . . and increase community confidence in the CDP.”35 This section refers to policing according to this model as
“community and problem-oriented policing,” or “CPOP.”

The Decree defines “community and problem-oriented policing” as a “policing philosophy that promotes and
relies on collaborative partnerships between law enforcement agencies and the individuals and organizations they
serve to develop solutions to problems, increase trust in police, and improve the effectiveness of policing efforts.”36


35
     Dkt. 7-1 ¶ 27.
36
     Id. at ¶ 414.



                                                             14
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 17 of 85. PageID #: 4775
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



As countless law enforcement agencies have recognized, community policing principles must inform decision-
making at all levels of the agency, including decisions about hiring, deployment, and evaluation.37 Community
policing is not an extra activity. It is not simply community engagement. It is not an unconnected array of
programs or initiatives. Instead, it is an overriding philosophy of policing that recognizes that the legitimacy of
the police and the effectiveness of law enforcement operations ultimately derive from the communities that the
police serve.

A Division-wide commitment to community policing will help promote trust and legitimacy, improve the quality
of police-citizen encounters, and address persistent public safety issues in Cleveland communities. Critically, CDP
must ensure that related operational and structural changes needed to support community and problem-oriented
policing—principally, staffing and recruitment—receive appropriate consideration.

Where the Division Stands

CPOP Plan Finalization

Drafts of the CPOP Plan, along with related Plans on Staffing and Recruitment and Hiring, were available for
public feedback throughout the summer and early fall of 2018. As described earlier in more detail, the CPC played
a significant role in taking the draft Plans to the public for comment and critique. The CPC’s completed report
highlighted community members’ concerns about the importance of CPOP training and questions about officers’
ability to implement SARA, a problem-solving methodology described below.

The City also did a commendable job in engaging the community for their input on the Plans. Through the District
Policing Committees and other policing organizations, the City and Division held a series of productive and well-
structured community meetings in which District representatives briefed participants on the substance of the
CPOP Plan, answered questions, and asked participants to complete surveys on their reactions to the plans.

After reviewing the CPC’s report and considering and implementing changes as appropriate, the Parties and
Monitoring Team completed a final CPOP Plan on February 5, 2019. The Monitoring Team submitted the final
Plan for the Court’s approval on February 14, 2019.38 The Court approved the Plan on February 20, 2019.39

As the Monitoring Team has previously summarized, the approved Plan defines CPOP as “an organizational
strategy that promotes community partnerships and problem-solving techniques to proactively address the
immediate conditions that give rise to public safety issues such as crime, social disorder, and fear of crime. CPOP
is the responsibility of all members of the CDP beginning with the Chief through the chain of command to every
officer.”40 The Plan appropriately situates CPOP not as a standalone program or set of initiatives, but rather as




37
   See, e.g., Police Executive Research Forum (PERF), Community Policing: Past, Present, and Future at 4 (2004)
(“Community Policing”); Presidential Task Force On 21st Century Policing, Final Report at 43 (2015).
38
   Dkt. 234.
39
   Dkt. 237.
40
   Dkt. 234-1 at 6.



                                                        15
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 18 of 85. PageID #: 4776
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



part and parcel “of how the Division recruits and hires, allocate[s] resources, trains, promote[s], and evaluate[s]
officers and the Division, and collects data.”41

Under the CPOP Plan, officers will collaborate actively and affirmatively with Cleveland residents to address
public safety issues and the conditions that lead to crime. Specifically, patrol officers assigned to CDP’s
neighborhood districts will be expected to spend at least 20% of their time engaging community members to
address public safety concerns. This might include participating on bike and foot patrols, attending community
meetings, or creating and implementing action plans with residents to address their issues. This 20% requirement
is an intended average across time, not a mandate that officers across all assignments spend that amount of each
and every shift on engagement. The expectations may change according to where and when an officer works, as
well as the types of situations that an officer needs to address.

The Plan also outlines how the Division will utilize “SARA,” a well-known problem-oriented policing model that
stands for Scanning-Analysis-Response-Assessment, as its cornerstone for training and encouraging officers to
collaborate with community residents on public safety problems. Under SARA, CDP officers are expected to
“scan” for problems; “analyze” the conditions of the problems and understand what factors are contributing to it;
“respond” by taking steps to solve the problem; and “assess” the outcome later to see if the problem in fact was
resolved or only displaced. Officers are expected to work with community members to discover problems, find
out how residents would like problems to be solved, and then follow up with residents to see if the problem has
been resolved in the eyes of the community.

It is essential, as the Team has heard from Cleveland residents consistently, for patrol officers to remain in
neighborhoods if they are to build meaningful relationships and attempt to establish new connections with
community members and groups. To that end, the Plan stresses “zone integrity,” or an officer’s “ownership and
accountability of assigned zones in a District.”42 To help promote zone integrity, CDP patrol staffing and
deployment will be changed to a “workload-based” model for assigning personnel (discussed in more detail in the
Officer Assistance & Support Section of this Report).

The Plan also appropriately acknowledges the importance of the Division’s recruitment and hiring in being able
to effectuate CPOP. “The Division strives to hire individuals who represent a cross-section of the Cleveland
community who are dedicated to policing according to the CPOP model. The CDP’s Public Safety Recruitment
Team (PSRT) recruits service-minded individuals who reflect the demographics and ideals of the Cleveland
community. They will seek to recruit candidates who exhibit critical problem-solving skills and the ability to
communicate with a cross-section of the city.”43 The CDP’s Recruitment and Hiring Plan, discussed in this
Report’s Officer Assistance & Support Section, contains more details on the Division’s plans to adjust its
recruitment activities and priorities.

Under the CPOP Plan, each CDP District will create a District Neighborhood Awareness Training for officers in
the District that will include information about the residents’ demographics, cultural information about the



41
   Id. at 2.
42
   Id. at 19.
43
   Id. at 21.



                                                        16
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 19 of 85. PageID #: 4777
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



demographic, relevant historical events, and suggestions to improve police/community relations from the
perspective of both community members and officers.44

The Division’s CPOP Plan also includes ways that CDP will seek to measure success in its ability to effectuate
CPOP and establish new, stronger relationships with Cleveland residents. Under the Plan, the Division’s Data
Collection and Analysis Coordinator (“Data Coordinator”) “will ensure that the data is collected and tracked.”45
Data will include “community outreach, engagement, bike and foot patrol frequency, organized/planned events
and unplanned engagements” and will be input into the Division’s Computer Aided Dispatch (“CAD”) system.46
The Data Coordinator will “extrapolate data associated with CPOP activities including the frequency and type of
actions taken, and broken down by District. Supervisors will use this information during the annual performance
evaluations.”47 In addition to the Division’s internal collection of data, “[c]ommunity surveys will be conducted
to measure public satisfaction with policing,” including “officer and Division performance regarding community
partnerships and CPOP activities.”48

To incorporate collected data into management decisions, the CPOP Plan calls for CDP to create a CPOP Review
Committee, consisting of the Commander of the Bureau of Community Relations, CDP’s Compliance team, and
the Data Coordinator. The Committee will meet quarterly to review all community engagement data, identify
gaps in the expectations that patrol officers’ commit 20% of their time to engagement, review community surveys,
and create a biannual report of the findings and recommendations for improvement.49

Community Engagement and Problem Solving Training

Community policing requires officers to use a variety of skills, including interpersonal communication and
problem-solving skills. Effective community policing also requires officers to be familiar with the history, culture,
and traditions of their communities. Under the Consent Decree, CDP officers must therefore receive training on:

          •    Community engagement and problem-solving strategies;
          •    Leadership, ethics, and effective communication;
          •    Forming community partnerships;
          •    Procedural justice;
          •    Conflict resolution; and
          •    Cultural competency.50

The Parties and Monitoring Team collaborated to design a Community Engagement and Problem-Solving
(“CEPS”) curriculum throughout the first half of 2018. On July 13, 2018, the Monitoring Team recommended that
the Court approve the CEPS Training. On July 16, 2018, the Division began in-service training, including the


44
   Id. at 28-29.
45
   Id. at 32.
46
   Id.
47
   Id.
48
   Id.
49
   Id. at 32-33.
50
   Dkt. 7-1 at ¶ 30.



                                                        17
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 20 of 85. PageID #: 4778
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



newly-approved training. By the end of 2018, 98% of eligible CDP members had completed the CEPS Training.
During the training, the Division’s Training Section learned a number of important lessons that the Monitoring
Team and Parties hope will improve its ability to deliver high-quality training going forward, discussed in more
detail in the Officer Assistance & Support Section of this Report.

Progress and Tasks that Remain

Organizational Changes

Now that the CPOP Plan has been completed and approved by the Court, the Monitoring Team here reiterates a
point that is singularly vital to CPOP: “CPOP is more than a set of rules for which officers need to be trained.
CPOP is a philosophical change in policing that will affect core components that make up the Cleveland Division
of Police.”51

The Monitoring Team previously noted to the Court that it approved the Plan for what it is: a forward-looking
vision of what community and problem-oriented policing can and will be in the Cleveland Division of Police. As
described, the CPOP Plan outlines significant changes, like an expectation that 20% of officers’ time be committed
to community engagement and problem-solving. The CPOP and Staffing Plans jointly contemplate ways to free
up patrol officers’ time, such as implementing alternative crime reporting services, changing the incidents that do
not require an officer’s immediate response, and requiring a “verified” response to burglary or residential alarms.
The CPOP Plan also contemplates changes to the way CDP conducts performance evaluations to ensure that
officers are evaluated based on their use of CPOP practices.

Because the CPOP Plan “is not, and was never intended to be, a project management plan in the traditional sense,
. . . the task of the Division in the coming months will be to translate the large commitments and major elements
of the Plan into smaller steps and milestones that can be substantially and effectively implemented.”52 The Plan
does not include specific timelines and details on, as the Decree mandates, the integration of “community and
problem-oriented policing principles into its management, policies and procedures, recruitment, training,
personnel evaluations, resource deployment, tactics, and accountability systems.”53 The Monitoring Team looks
forward to seeing a precise roadmap for how these contemplated CPOP changes will occur.

Training

The Division is currently preparing a 2019 in-service CEPS Training that reinforces core concepts from the 2018
training, such as the SARA problem-solving model, while also instructing officers on the now-approved CPOP
Plan itself—the new expectations and requirements on how officers are staffed, use their time, and document their
community engagement and problem-solving activities. All CDP personnel—officers, supervisors, dispatchers—
need to understand and receive training on the Plan. The Monitoring Team and DOJ have been assisting the
Division with the curriculum of this training. The Division has indicated that the Training Section learned certain
lessons from the 2018 CEPS Training and that it is working to address them in the upcoming 2019 training.

51
   Fifth Semiannual Report at 30.
52
   Dkt. 234 at 9-10.
53
   Dkt. 7-1 at ¶ 28.



                                                        18
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 21 of 85. PageID #: 4779
                              Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Data Collection and Tracking

Under the approved CPOP Plan, officers will be required to enter any CPOP activity into an electronic database
system. Such data will include data on collaborative problem-solving, community outreach, bike and foot patrol
frequency, organized community events, and unplanned engagements with the community. Officers will be
expected and required to enter such data regularly into a database. The Division’s Data Collection and Analysis
Coordinator will ensure the proper tracking and monitoring of CDP’s activities. All of this is required by
Paragraphs 32 through 34 of the Decree.

The Division is continuing to work through how the data tracking elements of CPOP will be implemented. Even
the approved CPOP Plan contains only a broad vision for collection of data. The Monitoring Team looks forward
to assisting the City and CDP to work through any technical data issues in order to ensure that data can be
collected, tracked, analyzed, and presented for review to the Monitoring Team and the Cleveland public.




                                                      19
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 22 of 85. PageID #: 4780
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



V.         BIAS-FREE POLICING

     Paragraph                                                                                  Status of
                                                                                                Compliance
     35. Delivery of “police services with the goal of ensuring that they are equitable, PARTIAL
     respectful, and free of unlawful bias,” among other things.                                COMPLIANCE
     36. “CDP will integrate bias-free policing principles into its management, policies and PARTIAL
     procedures, job descriptions, recruitment, training, personnel evaluations, resource COMPLIANCE
     deployment, tactics, and accountability systems.”
     37. CDP will ensure that it “administer[s] all activities without discrimination” on basis PARTIAL
     of various protected classes                                                               COMPLIANCE
     38.     “CDP will develop a bias-free policing policy” incorporating CPC OPERATIONAL
     recommendations “that provides clear guidance to officers”                                 COMPLIANCE
     39–40. Bias-free policing and procedural justice training “adequate in quality, quantity, PARTIAL
     scope, and type” covering specific areas                                                   COMPLIANCE
     41. Supervisor training on bias-free policing and procedural justice issues covering EVALUATION
     specific areas                                                                             DEFERRED
     42. Annual in-service training on bias-free policing “adequate in quality, quantity, type, EVALUATION
     and scope”                                                                                 DEFERRED
     43. Analysis of paragraph 265 data (“including use of force, arrests, motor vehicle and EVALUATION
     investigatory stops, and misconduct complaints alleging discrimination”)                   DEFERRED
     44. Consideration of “bias-free policing and equal protection” principles in hiring, unit PARTIAL
     assignment, promotion, and performance assessments.                                        COMPLIANCE

Background

The Consent Decree requires that CDP “deliver police services with the goal of ensuring that they are equitable,
respectful, and free of unlawful bias, in a manner that promotes broad community engagement and confidence in
CDP.”54 Bias-free policing principles must be operationally integrated into CDP’s “management, policies and
procedures, job descriptions, recruitment, training, personnel evaluations, resource deployment, tactics, and
accountability systems.”55 The goal is “to ensure policing and law enforcement outcomes that are as free from the
effects of all bias to the greatest extent possible.”56

Where the Division Stands

The Court approved CDP’s Bias-Free Policing Policy on March 23, 2018. In its motion to the Court, the
Monitoring Team highlighted that the Policy set “critical guidelines for the delivery of police services within the
Cleveland Division of Police[,]” with clear prohibitions against “harassing, intimidating or derogatory language”
and the determination of “reasonable suspicion or probable cause based upon a demographic category [unless part


54
   Dkt. 7-1 ¶ 35.
55
   Id. ¶ 35-36.
56
   First Semiannual Report at 30.



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        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 23 of 85. PageID #: 4781
                                   Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



of an actual and credible suspect description][.]”57 This policy also underwent two separate rounds of substantial
public comment, facilitated by the CPC, involving numerous town hall meetings across the city.

Not long after the Division’s new Bias-Free Policing policy was approved by the Court, the Parties and Monitoring
Team turned to the Division’s in-service training on procedural justice and bias-free policing principles. As the
Monitoring Team described in its Fifth Semiannual Report, “[s]uccessful implementation of bias-free policing
principles within the Division of Police requires not only a clear policy that prohibits bias-based policing, but
training that provides officers with tools and strategies to manage implicit biases and self-correct in moments of
potentially biased behavior.”

The Division began working with the Center for Policing Equity (“CPE”), a research center that has developed
and conducted evidence-based trainings on procedural justice in policing for law enforcement agencies across the
country, to design an eight-hour training to promote bias-free policing. The Division ultimately took CPE’s
curriculum as a starting point from which to tailor a training specific to Cleveland. The Monitoring Team worked
with the Parties to ensure that the curriculum addressed a host of the Consent Decree’s most critical
requirements.

After working through numerous drafts of the curricula, the Monitoring Team requested that the Court approve
the training on July 13, 2018. Training began on July 16, 2018. By the end of 2018, 98% of eligible CDP members
had completed the Bias-Free Training. As with the 2018 CEPS Training, the Division’s Training Section learned
a number of important lessons about its capabilities that will improve its ability to deliver high-quality training
going forward.

Progress and Tasks that Remain

Bias-Free Policing Training

As the Division makes plans for conducting different and improved training in 2019, “adequate in quality, quantity,
scope, and type,”58 it must provide sufficient instruction on a host of critical topics:

       •    Constitutional and other legal requirements related to equal protection and unlawful discrimination,
            including the requirements of this Agreement;
       •    Strategies, such as problem-oriented policing, procedural justice, and recognizing implicit bias, to avoid
            conduct that may lead to biased policing or the perception of biased policing;
       •    Historical and cultural systems that perpetuate racial and ethnic profiling;
       •    Identification of racial or ethnic profiling practices, and police practices that have a disparate impact on
            certain demographic categories;
       •    Self-evaluation strategies to identify racial or ethnic profiling;
       •    District-level cultural competency training regarding the histories and culture of local immigrant and
            ethnic communities;
       •    Police and community perspectives related to bias-free policing;

57
     Dkt. 186 at 5.
58
     Dkt. 7-1 at ¶ 39.



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     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 24 of 85. PageID #: 4782
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



     •   The protection of civil rights as a central part of the police mission and as essential to effective policing;
     •   Instruction in the data collection protocols required by this Agreement; and
     •   Methods, strategies, and techniques to reduce misunderstanding, conflict, and complaints due to
         perceived bias or discrimination.59

The Division must also provide specific instruction to supervisors on:

     •   How to identify biased police practices when reviewing investigatory stop, arrest, and use of force data;
     •   How to respond to a complaint of biased police practices, including conducting a preliminary
         investigation of the complaint in order to preserve key evidence and potential witnesses;
     •   How to evaluate complaints of improper pedestrian stops for potential biased police practices; and
     •   Engaging the community and developing positive relationships with diverse community groups.60

As the Monitoring Team suggested in its Fifth Semiannual Report, “[i]t may be helpful for the City and CPD to
establish a clear and concrete plan, with the Consent Decree a few months past its halfway point, for completing
all the training requirements over the next few years.”61 The Team reiterates that suggestion here.

Integration of Bias-Free Policing Principles

The Decree requires that the Division “integrate bias-free policing principles into its management, policies and
procedures, job descriptions, recruitment, training, personnel evaluations, resource deployment, tactics, and
accountability systems.”62 The Monitoring Team expects that the Division will be well-positioned to push
ongoing work on personnel evaluations, management processes, resource deployment, and accountability
systems to ensure that the process of integrating bias-free policing principles continues.

The Division’s Collection, Analysis, and Proactive Uses of Data

Ultimately, bias-free policing requires not just a well-written policy and high-quality training but a robust data
infrastructure and command staff’s use of data as a management tool. “To help ensure that police services are
delivered in a manner free from bias,” the Consent Decree requires the Division to conduct annual assessments of
all police activities, “including use of force, arrests, motor vehicle and investigatory stops, and misconduct
complaints alleging discrimination, to determine whether CDP’s activities are applied or administered in a way
that discriminates against individuals on the basis of race, ethnicity, gender, disability, sexual orientation, or gender
identity.”63
The Division still has some distance to travel with respect to its ability to analyze data, produce reports, and
conduct quantitative and qualitative assessments on subjects such as arrests, motor vehicle and investigatory
stops, and misconduct complaints alleging discrimination—all policing practices where it is critical to assess the
presence of biased or discriminatory policing. This must be done in assessments both quantitative (analyzing


59
   Dkt. 7-1 at ¶ 40.
60
   Id. at ¶ 41.
61
   Fifth Semiannual Report at 37.
62
   Dkt. 7-1 at ¶ 36.
63
   Id. at ¶¶ 43, 265.



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    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 25 of 85. PageID #: 4783
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



aggregate numbers to determine trends and patterns) and qualitative (driving conclusions from the analysis about
the nature of police performance and interactions). In short, the Division must collect information, affirmatively
and proactively analyze the data, and respond, as appropriate, to trends or issues identified.

The quality of the Division’s assessments will depend on the Division’s progress in improving its data and
information infrastructure and in its ability to manage itself based on lessons and insights derived from such data.
Strong protocols for data collection, analysis, and reporting are necessary to monitor and assess patterns of bias-
based policing. As discussed elsewhere in this report, CDP has made progress in developing its data infrastructure,
but not yet the kind of progress required to comply with the Decree’s data requirements.

Ultimately, the Monitoring Team doubts that it could certify, one way or another, to the Court whether the
Division’s policies on bias-free and nondiscriminatory policing are actually in effect across the Division or whether
they exist merely on paper unless and until the Division rigorously inventories the performance of its officers in
interactions with Cleveland residents during stops, searches, and arrests. The Decree requires that this data be
collected, reported, and analyzed not simply as an academic exercise or because it might be interesting. Instead,
it is required because, without accurate and comprehensive information, the actual level and quality of the Division
of Police’s performance cannot be determined.




                                                        23
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 26 of 85. PageID #: 4784
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



VI.     USE OF FORCE

A.      Officer Use of Force Principles & Policy

 Paragraph                                                                                  Status of Compliance
 45. “CDP will revise, develop, and implement force policies, training, supervision, and    PARTIAL
 accountability systems with the goal of ensuring that force” complies with the             COMPLIANCE
 Constitution, federal law, and the Consent Decree “and that any use of unreasonable
 force is promptly identified and responded to appropriately.”
 46. “The City will implement the terms of this Agreement with the goal of ensuring         PARTIAL
 that use of force by CDP officers . . . will comply” with at least twelve major, listed    COMPLIANCE
 principles.
 47. Division “will ensure that the [use of force] incident is accurately and properly      PARTIAL
 reported, documented, and investigated.”                                                   COMPLIANCE
 48. “CDP will track and analyze officers’ uses of force to hold officers accountable for   PARTIAL
 unreasonable uses of force; to guide training and policy; and to identify poor tactics     COMPLIANCE
 and emerging trends.”
 49. Development of use of force policies “that comply with applicable law[,] . . . are     OPERATIONAL
 adequate to achieve the goals described in paragraph 45,” and “specify that                COMPLIANCE
 unreasonable use of force will subject officers to the disciplinary process, possible
 criminal prosecution, and/or possible civil liability.”
 50. “CDP’s policies will address the use and deployment of its authorized force            OPERATIONAL
 techniques, technologies, and weapons.”                                                    COMPLIANCE
 51. Weapon-specific policies “will include training and certification requirements that    OPERATIONAL
 each officer must meet before being permitted to carry and use the authorized              COMPLIANCE
 weapon.”
 52. “No officer will carry any weapon that is not authorized or approved by CDP.”       OPERATIONAL
                                                                                         COMPLIANCE
 53. “Prior to the use of any approved weapon, the officer, when possible and OPERATIONAL
 appropriate, will communicate to the subject and other officers that the use of weapon COMPLIANCE
 is imminent, and allow the subject an opportunity to comply.”
 54–83 “CDP will implement policies” for firearms, ECWs (Tasers), and OC (pepper) OPERATIONAL
 spray that comply with a host of specific, expressly listed provisions.                 COMPLIANCE
 84. CDP “will provide all current officers use of force training that is adequate in OPERATIONAL
 quality, quantity, scope, and type and that includes” a number of specific, expressly- COMPLIANCE
 listed elements.
 85. CDP “will provide the use of force training described in paragraph 84 to all new OPERATIONAL
 officers.”                                                                              COMPLIANCE
 86. “CDP will provide all officers with annual use of force in-service training that is OPERATIONAL
 adequate in quality, quantity, type, and scope.”                                        COMPLIANCE
 87. “CDP will develop and implement a single, uniform reporting system pursuant to OPERATIONAL
 a Use of Force reporting policy” that complies with the force Level categorization set COMPLIANCE
 forth in the paragraph.




                                                        24
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 27 of 85. PageID #: 4785
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



 88. Requiring “[a]ll officers using or observing force” to complete a Use of Force             OPERATIONAL
 Report including a number of specific features and avoiding “conclusory statements,            COMPLIANCE
 ‘boilerplate’, or ‘canned’ language.”
 89. “Officers will be subject to the disciplinary process for material omissions or            OPERATIONAL
 misrepresentations in their Use of Force Reports.”                                             COMPLIANCE
 90. “Officers who use or observe force and fail to report it will be subject to the            OPERATIONAL
 disciplinary process, up to and including termination, regardless of whether the force         COMPLIANCE
 was reasonable.”
 91. Requirement to “notify . . . supervisors . . . as soon as practical following any use of   OPERATIONAL
 force” and if becoming aware of “an allegation of unreasonable or unreported force by          COMPLIANCE
 another officer.”
 92. “Use of Force Reports will be maintained centrally.”                                       OPERATIONAL
                                                                                                COMPLIANCE

Background

As the Monitoring Team has emphasized in past Semiannual Reports, the use of force, including the manner in
which officers are trained and how uses of force are documented and investigated, is “at the core of the Consent
Decree.”64 It is fitting, then, to discuss in comparatively greater detail the various requirements imposed by the
Consent Decree and the progress made by the Division with respect to force policies and training.

Under the Decree, the Cleveland Division of Police must:

        [R]evise, develop, and implement force policies, training, supervision, and accountability
        systems with the goal of ensuring that force is used in accordance with the Constitution and laws
        of the United States and the requirements of the Agreement and that any use of unreasonable
        force is promptly identified and responded to appropriately.65

The Court approved the new use of force policies, subject to some specific conditions, on January 17, 2017.66 Five
new policies, addressing (1) general use of force principles and expectations; (2) definitions used in various force
policies; (3) de-escalation techniques to ensure officer and subject safety; (4) intermediate weapons, such as a
Taser, oleoresin capsicum (OC) spray, and baton; and (5) reporting of force. The policies had undergone
substantial rounds of broad-based public comment, facilitated by the City, Community Police Commission,
Department of Justice, and the Monitoring Team.

The Consent Decree also requires that CDP’s use of force training be “adequate in quality, quantity, scope, and
type” and include instruction, among other things, on:

        ●    Proper use of force decision-making;
        ●    Use of force reporting requirements;

64
   First Semiannual Report at 31.
65
   Dkt. 7-1 at ¶ 45.
66
   Dkt. 101.



                                                          25
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 28 of 85. PageID #: 4786
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



         ●   The Fourth Amendment and related law;
         ●   De-escalation techniques, both verbal and tactical, that empower officers to make arrests without
             using force and instruction that disengagement, area containment, surveillance, waiting out a subject,
             summoning reinforcements, using cover, calling in specialized units, or delaying arrest may be the
             appropriate response to a situation, even when the use of force would be legally justified;
         ●   Role-playing scenarios and interactive exercises that illustrate proper use of force decision-making,
             including training on the importance of peer intervention;
         ●   The proper deployment and use of all intermediate weapons or technologies;
         ●   The particular risks and considerations relating to using a Taser; and
         ●   Firearms training.67

Between May and December 2017, the Division of Police provided all sworn CDP personnel with use of force
training on the Division’s new use of force policies. The training was developed through close collaboration with
the Monitoring Team and Department of Justice. The City has certified that all eligible officers completed the
training in 2017. Feedback from CDP officers, the DOJ, and the Monitoring Team made clear that the 2017 Use of
Force Training established a strong foundation for ongoing, follow-up training provided on an annual basis on
additional and in-depth force topics.

In addition to policy and training, the Division must have clear processes and procedures for the administrative
investigation and review of force incidents.68 The Decree lays out specific force reporting requirements, including
the establishment of a new system of classifying force:

     •   Level One force is the lowest level of force. It is force that is “reasonably expected to cause only transient
         pain and/or disorientation during its application as a means of gaining compliance . . . but that is not
         reasonably expected to cause injury, does not result in actual injury, and does not result in a complaint of
         injury.”69
     •   Level Two force is force that “causes an injury, could reasonably be expected to cause an injury, or results
         in a complaint of injury.”70
     •   Level Three force is force that constitutes “lethal” or “deadly” force. It also includes any level of force
         which results in death or serious injury, hospital admission, or lack of consciousness. Specific types of
         Level Three force include neck restraints, canine bites, and more than three applications of an Electronic
         Control Weapon (i.e. Taser).71




67
   Dkt. 7-1 ¶ 84. In addition to initial training on use of force covering the topics listed above, the Division must
provide its officers with “annual use of force in-service training that is adequate in quality, quantity, type, and
scope” going forward. CDP supervisors must also receive specialized training, as discussed elsewhere in this
report, relating both to force and broader supervisory skills.
68
   First Semiannual Report at 36-37; Dkt. 97 at 35-36.
69
   Dkt. 7-1 at ¶ 87(a).
70
   Id. at ¶ 87(b).
71
   Id. at ¶ 87(c).



                                                         26
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 29 of 85. PageID #: 4787
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Under the Decree, all officers using or observing force have an affirmative duty to report such force in writing by
the completion of their tour of duty.72 The Consent Decree also requires that the Division develop and implement
a “single, uniform reporting system.”73

Where the Division Stands

With the finalization of new use of force policies, the completion of the first year of use of force training by all
officers, and new policies and procedures for reporting the use of force, the Division’s new use of force policies
became effective, in the field and on the streets of Cleveland, on January 1, 2018. The Monitoring Team previously
cautioned that “officers may make some good-faith errors or mistakes in the first few months that the new force
policies are in effect” and that “sufficiently systemic adherence to the new policies . . . is unlikely to occur
overnight.74

Table 1: Use of Force Trends: 2018 v. 2017, excluding Level 1: pointing of a firearm at an individual75
                                                 2017        2018
                               January           23          10
                               February          19          9
                               March             22          8
                               April             24          16
                               May               16          14
                               June              23          18
                               July              12          15
                               August            18          11
                               September         25          21
                               October           17          19
                               November          16          11
                               December          22          16
                               TOTAL             237         168

In the first full year that the new use of force policies were effective on the streets of Cleveland, officer use of force
was down substantially compared to the prior year. In order to make a fair, “apples to apples” comparison, and as
the Monitoring Team did in its prior semiannual report, the numbers in Table 1 for 2018 consider officer use of
force other than the pointing of a firearm at an individual – a low-level, reportable Level 1 use of force under the
Division’s new policy. Because the Division did not previously track this information in its use of force database


72
   Dkt. 7-1 at ¶ 87(b).
73
   Id. at ¶ 87.
74
   Fourth Semiannual Report at 31.
75
   The figures in Table 1 differ slightly from the use of force incidents reported on page 49 of the Monitoring Team’s
Fifth Semiannual Report. This discrepancy can be attributed to a variety of minor and infrequent scenarios,
including reclassification of incidents as they proceed through chain of command review and the incorrect
inputting of a single use of force incident by multiple officers (leading to an incident being counted more than
once).



                                                           27
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 30 of 85. PageID #: 4788
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



in 2017, the 2018 numbers need to be adjusted to exclude pointing a firearm to get a sense of how officer
performance has been changing independent of the this change of force definition.

With the above caveats, the Team is tremendously impressed by the overall trends with respect to force in the
first year of the new force policies. The use of force in Cleveland by CDP officers was down in 2018
compared to 2017—by 29%.

A 29% reduction in force incidents is no small achievement. The Monitoring Team applauds the Division’s work
to revise force policies. It applauds the Training Section’s hard work on constructing and conducting high-quality
officer training on force that incorporated new approaches and methods. Most of all, it applauds the men and
women of the Division of Police who are charged with carrying out the policy while ensuring the public’s, and their
own, safety. The data of the first year of the Division’s new approach to use of force suggest that officers are using
force differently than in the past.

This significant drop in use of force has occurred at the same time that crime in Cleveland has dropped. As Table
2 details, Part I crime in Cleveland—with the exception of rape by a known assailant, a notoriously difficult crime
for law enforcement to impact—was down in 2018 from 2017 across all major categories except rape.

Table 2: Part I Crime: 2018 v. 2017
                             2017                             2018                          Change
 Homicide                    130                              124                           –4.6%
 Rape                        550                              584                           +6.2%
 Robbery                     3026                             2269                          –25.0%
 Felonious Assault           2816                             2550                          –9.5%
 Burglary                    6268                             4943                          –21.1%
 Theft                       14611                            10767                         –26.3%
 Grand Theft MV              3561                             3150                          –11.5%
 Arson                       292                              174                           –40.4%

These numbers, reflecting a year’s worth of the day-to-day work of the Division and its officers, help to establish
that the Division’s new use of force policies and approach are not leading to an increase in crime. Instead, officers
are using less force at the same time Cleveland experiences less crime. This is clear, substantial, and
positive progress.

Further, force and crime are down at the same time that officer injuries are down—both in terms of
fewer officers getting injured in use of force incidents and fewer officers getting injured on the job overall.
Specifically, there was a nearly 22 percent decrease in officer injuries in use of force incidents in 2018 and an
approximately 20 percent decrease in officer injuries overall.

Table 3: Officer Injuries: 2018 v. 2017
                                      2017                        2018                    Change
 Officer Injuries in Force Incidents  55                          43                      -21.8%
 Total Officer Injuries               161                         129                     -19.9%




                                                         28
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 31 of 85. PageID #: 4789
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019




This indicates, quite encouragingly, that officers are not less safe as a result of the revised force policies.

Not only are fewer officers getting injured, but fewer subjects are getting injured during use of force
incidents. In 2017, 37 percent of subjects were injured in some manner, from relatively low-level complaints of
injuries alone to more significant physical injuries, during an incident where officers applied force. In 2018, 20
percent of subjects were injured during force incidents.

Thus, the implementation of the use of force policies in 2018 marked a year when the public, officers, and even the
subjects of use of force in Cleveland were, in aggregate, safer than they were in the preceding year.

The Monitoring Team has previously observed that substantial and effective compliance with the Consent
Decree, and general compliance with the use of force provisions of the Decree, does not and cannot depend simply
on fewer uses of force alone. Instead, the Decree and the Court-approved policies enacted to comply with it
require that force be used only when doing so is necessary, proportional, reasonable, and reasonably available de-
escalation attempts have been used. For instance, if the reduced number of use of force incidents all failed to
comply with the new force policies, the Division would not be in compliance with the Decree, even if the overall
number of force incidents were lower. At the same time, it likewise would be unacceptable if officers only rarely
used force and did so consistent with policy, but officer and public safety were being compromised.

Thus, the reduction in reported force incidents in 2018 is encouraging and commendable. The Monitoring Team
has begun a comprehensive review of use of force incidents that occurred in 2018 to evaluate whether those
instances where officers used force were compliant with the Division’s policy. To the extent that the Monitoring
Team identifies in this study that officers are performing according to standards and the requirements of the
Decree, it may be possible that the Division’s performance for 2018 can be certified as being in General
Compliance. The Monitoring Team will update the Court on its findings in the next reporting period.

Progress and Tasks that Remain

Ongoing, Annual Use of Force Training

The Division must continue to conduct use of force training on an annual basis, updating the curriculum as
appropriate to address officer and community feedback, as well as what data reveals about patterns of force within
CDP. The Division’s Training Section currently is developing a use of force in-service training curriculum for all
CDP officers scheduled to begin on March 4, 2019. It is contemplated that the training will build off the successful
2017 effort with additional skill-building and scenario-based instruction.

Compliance with Policy

As noted in prior Semiannual Reports, the Division remains in the early days of actively implementing new force
policies designed to comply with the Decree. Early indicators for 2018 were encouraging. However, more time
will be necessary for the new obligations to sink in and for the Division to demonstrate that it is holding officers
accountable for deviations from new force expectations.




                                                           29
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 32 of 85. PageID #: 4790
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Ultimately, even if officers are using force less often, the force that they do use needs to adhere rigorously to the
Division’s new policy. Although the numbers and quantitative trends across the first year are encouraging, the
Division must consistently ensure—and the Monitoring Team will be auditing—that officers who do use force are
complying with law, policy, and the terms of the Decree.

A key component of ensuring compliance with policy is the Division’s ability to rigorously investigate and review
use of force incidents—so that good performance can be commended and deficient performance corrected.

B.      Use of Force Investigation and Review

 Paragraph                                                                                    Status of
                                                                                              Compliance
 93. “A supervisor who was involved in a use of force, including by participating in or EVALUATION
 ordering the force under investigation, will not investigate the incident or review the DEFERRED
 Use of Force Reports for approval or disapproval.”
 94. Setting specific requirements relating to the investigation of low-level, Level 1 EVALUATION
 force.                                                                                       DEFERRED
 95–109. Setting specific requirements relating to the investigation by supervisors EVALUATION
 and/or CDP chain of command for investigation and review of Level 2 force.                   DEFERRED
 110. “CDP may refer criminal investigations of uses of force to an independent and EVALUATION
 highly competent agency outside CDP.”                                                        DEFERRED
 111. Creation and design of dedicated Force Investigation Team (FIT) that “will EVALUATION
 conduct administrative investigations . . . and criminal investigations” of serious force, DEFERRED
 “force involving potential criminal conduct,” in-custody deaths, and cases assigned to
 it by the Chief.
 112. Composition of FIT Team.                                                                EVALUATION
                                                                                              DEFERRED
 113. “FIT members will receive FIT-specific training that is adequate in quality, EVALUATION
 quantity, scope, and type” on a host of specific, expressly-listed topics both initially and DEFERRED
 annually thereafter.
 114. “CDP will identify, assign, and train personnel for the FIT to fulfill the EVALUATION
 requirements of this Agreement.”                                                             DEFERRED
 115. Response of FIT to use of force scenes. FIT notification of prosecutor’s office. EVALUATION
 Notification of designated outside agency to conduct criminal investigation if City DEFERRED
 elects to use external agency for such investigations.
 116. “CDP will develop and implement polices to ensure that, where an outside agency EVALUATION
 conducts the criminal investigation, FIT conducts a concurrent and thorough DEFERRED
 administrative investigation.”
 117. Memorandum of understanding required between CDP and outside agency EVALUATION
 containing specific, expressly-listed provisions.                                            DEFERRED
 118. Setting forth various, specific, and expressly-listed responsibilities of FIT during EVALUATION
 its investigations.                                                                          DEFERRED




                                                        30
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 33 of 85. PageID #: 4791
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



 119. Monitor’s duty to annually review any “criminal investigations conducted by the           EVALUATION
 outside agency” to ensure that they “are consistently objective, timely, and                   DEFERRED
 comprehensive.”
 120. Providing for delay of compelled interview if “case has the potential to proceed          EVALUATION
 criminally” but otherwise requiring that “[n]o other part of the investigation . . . be held   DEFERRED
 in abeyance” unless “specifically authorized by the Chief” in consultation with
 investigating agency and prosecutor’s office.
 121. Requiring completion of preliminary report presented to Chief or Chief’s designee         EVALUATION
 “as soon as possible, but absent exigent circumstances, no later than 24 hours after           DEFERRED
 learning of the use of force.”
 122. Completion of investigation within 60 days. Preparation of FIT investigation              EVALUATION
 report. Review of FIT investigative report by head of Internal Affairs who “will               DEFERRED
 approve or disapprove FIT’s recommendations, or request . . . additional investigation.”
 123. Revision of FIT manual to ensure “consisten[cy] with the force principles” and            EVALUATION
 several specific, expressly-listed provisions.                                                 DEFERRED
 124–30. Establishment and operation of Force Review Board “to serve as a quality               EVALUATION
 control mechanism for uses of force and force investigations, and to appraise use of           DEFERRED
 force incidents from a tactics, training, policy, and agency improvement perspective.”

Background

The Consent Decree establishes clear protocols by which the Division must investigate uses of force by the
reported level of force. Under a Level One use of force, the investigation will typically be limited to a review of
the involved officer’s use of force report.76 Level Two uses of force require a supervisor to respond to the scene
and commence a preliminary force inquiry. If the supervisor’s inquiry at any point indicates “that there may have
been misconduct, the supervisor will immediately notify Internal Affairs and Internal Affairs will determine if it
should respond to the scene and/or conduct or take over the investigation.”77 Level Three uses of force, the most
serious incidents, may come under the purview of either CDP’s Force Investigation Team (“FIT Team”) or an
independent outside agency.

Along with force inquiries, the Decree also requires CDP to craft policies and procedures related to supervisory
review of completed force investigations. Part of this process entails the establishment of a Force Review Board
(“FRB”) that will “appraise use of force incidents from a tactics, training, policy, and agency improvement
perspective.”78

Where the Division Stands

In the current reporting period, the Parties and Monitoring Team have continued to revise three important
documents that will collectively set expectations and protocols for the Division’s review and investigation of uses
of force: (1) the Use of Force Supervisory Review Policy; (2) the Force Investigation Team Manual; and (3) the

76
   Dkt. 7-1 at ¶ 124.
77
   Id.
78
   Id.



                                                          31
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 34 of 85. PageID #: 4792
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



FRB Policy. The Monitoring Team anticipates that these policies will be completed and ready for the Court’s
approval early in the upcoming reporting period.

Progress and Tasks that Remain

Officer Training and Policy Implementation

Once the FIT and FRB manuals are completed and approved by the Court, CDP will be able to comprehensively
analyze the application of force so that officer training, professional development, and risk management may all
be continually enhanced. To do so effectively, implicated Division personnel will need to receive training on the
new expectations. Specifically, the Division’s supervisors will all need training on how to conduct lower-level
force investigations and reviews; the new FIT Team will need to receive force-investigation-specific instruction;
and selected members of the newly-established FRB will likewise need to receive initial training on their duties,
responsibilities, and the ways that the Board must conduct its work. The Parties and Monitoring Team have
worked through several drafts of a curriculum addressing supervisory training. Over the next reporting period,
the Division will need to take significant steps to design and implement these important training initiatives.

Operation of FRB

Following the approval of policies and the training of Board members on their duties and responsibilities, the
Board will begin to convene. The Monitoring Team will be closely auditing the Board’s first year of operations to
assess the Board’s ability to effectively review force investigations.

Compliance & Adherence to New Policies

The requirements of supervisors, FIT, FRB, and the Division’s command staff when it comes to the investigation
and review of force incidents are significant and critical. The Division, and Monitoring Team, will need to ensure
that it is adhering to the new requirements across cases, investigations, and time. Again, short-term or sporadic
compliance will be insufficient for the new policies on force investigation and review to be considered effective in
practice—and for the Division to reach “general compliance.”




                                                        32
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 35 of 85. PageID #: 4793
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



VII.     CRISIS INTERVENTION

 Paragraph                                                                                     Status of Compliance
 131. “CDP will build upon and improve its Crisis Intervention Program” in furtherance         PARTIAL
 of four specific, expressly-listed goals, which “will provide a forum for effective           COMPLIANCE
 problem solving regarding the interaction between the criminal justice and mental
 health system and create a context for sustainable change.”
 132. Establishment of Mental Health Response Advisory Committee (the “Advisory                GENERAL
 Committee”) “to foster relationships and build support between the police,                    COMPLIANCE
 community, and mental health providers and to help identify problems and develop
 solutions designed to improve outcomes for individuals in crisis.”
 133. Composition of Advisory Committee.                                                       GENERAL
                                                                                               COMPLIANCE
 134. “The Advisory Committee will meet regularly and provide guidance to assist CDP           GENERAL
 in improving, expanding, and sustaining its Crisis Intervention Program.”                     COMPLIANCE
 135. Advisory Committee will conduct an annual “analysis of crisis intervention               EVALUATION
 incidents to determine whether CDP has enough specialized CIT officers, whether it            DEFERRED
 is deploying those officers effectively, and whether specialized CIT officers” and
 communications “are appropriately responding to people in crisis,” and will also
 “recommend appropriate changes.”
 136. “The Advisory Committee’s reports and recommendations will be provided” to               GENERAL
 CPC, “be publicly available, and will be posted on the City’s website.”                       COMPLIANCE
 137. CDP will designate a Crisis Intervention Coordinator for specific, expressly-            GENERAL
 identified purposes.                                                                          COMPLIANCE
 138. “Coordinator will develop and maintain partnerships with program stakeholders            OPERATIONAL
 and serve as point of contact” and “resource” for other stakeholders.                         COMPLIANCE
 139. “Coordinator will participate in the Advisory Committee and on a regular basis           GENERAL
 solicit feedback from the mental health community and specialized CIT officers, call-         COMPLIANCE
 takers, and dispatchers regarding the efficacy of CDP’s Crisis Intervention Program.”
 140. “Coordinator will be responsible for coordinating implementation of the changes          OPERATIONAL
 and recommendations made by the Advisory Committee, as appropriate.”                          COMPLIANCE
 141. “Coordinator will be responsible for ensuring the selection of appropriate               PARTIAL
 candidates for designation as specialized CIT officers” and “to ensure that officers, call-   COMPLIANCE
 takers, and dispatchers are appropriately responding to CIT-related calls.”
 142. “Coordinator will create ways to recognize and honor specialized CIT officers,   EVALUATION
 call-takers, and dispatchers.”                                                        DEFERRED
                                                                                       OPERATIONAL
 143. Initial and annual crisis intervention training to all officers and recruits that is
 “adequate in quality, quantity, type, and scope.”                                     COMPLIANCE
 144. Initial and annual crisis intervention training for dispatchers and call-takers. OPERATIONAL
                                                                                       COMPLIANCE
 145. “CDP will provide enhanced specialized training in responding to individuals in PARTIAL
 crisis to certain officers (‘specialized CIT officers’),” who will be “called upon to COMPLIANCE
 respond to incidents or calls involving individuals in crisis.”



                                                         33
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 36 of 85. PageID #: 4794
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



 146–47. Outlining various requirements for the “enhanced training” for specialized                PARTIAL
 CIT officers of “at least 40 hours.”                                                              COMPLIANCE
 148. Designation of specialized CIT officers, per specific, expressly-listed                      EVALUATION
 requirements.                                                                                     DEFERRED
 149. “Supervisors will identify and encourage qualified officers across all shifts and all        EVALUATION
 Districts to serve as specialized officers.”                                                      DEFERRED
 150. “All Field Training Officers” (“FTO”s) “will receive the enhanced specialized crisis         EVALUATION
 intervention training described in paragraph 146,” though FTOs will “not be                       DEFERRED
 designated as a specialized CIT officer” unless they volunteer and have been selected
 to do so.
 151. “Specialized CIT officers who are dispatched to an incident involving an individual          EVALUATION
 in crisis will have primary responsibility for the scene,” with supervisors “seek[ing] the        DEFERRED
 input of a specialized CIT officer . . . where it is reasonable for them to do so.”
 152. “[T]he Coordinator will develop an effective specialized crisis intervention plan .          EVALUATION
 . . to ensure that a specialized CIT officer is available to respond to all calls and incidents   DEFERRED
 that appear to involve an individual in crisis” that includes various, specific, expressly-
 identified requirements. The City “will use its best efforts to ensure that a specialized
 CIT officer responds to all calls and incidents that appear to involve an individual in
 crisis.”

Background

The Consent Decree requires the Division to build and enhance its Crisis Intervention Program with the goals of:

           ●   Assisting individuals in crisis;
           ●   Improving the safety of officer, consumers, family members, and others within the community;
           ●   Providing the foundation necessary to promote community and statewide solutions to assist
               individuals with mental illness; and
           ●   Reducing the need for individuals with mental illness to have further involvement with the criminal
               justice system.79

Where the Division Stands

As the Team noted in its Fifth Semiannual Report, “the progress that the City has made in the area of crisis
intervention is [arguably] the strongest and most significant of any area of the Consent Decree to date.”80 This
significant progress has continued in the current reporting period. The Monitoring Team has been pleased to see
the Mental Health Response Advisory Committee (“MHRAC”)—the community problem-solving forum made
up of representatives from the police, social service providers, mental health and substance abuse professionals,
the judiciary, advocates, and individuals in recovery—continue to collaborate on ways to improve services to



79
     Dkt. 7-1 at ¶ 131.
80
     Fifth Semiannual Report at 67.


                                                            34
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 37 of 85. PageID #: 4795
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



those in need of care.81 MHRAC and CDP also built upon a successful Crisis Intervention Training in 2017 with a
high-quality follow-up training for all CDP officers.

MHRAC Quality Improvement Subcommittee

To address linkages between crisis intervention and treatment, MHRAC in early 2018 created a Quality
Improvement Subcommittee—drawn from the MHRAC Policy and Data Subcommittees, as well as a range of
subject matter experts, advocates, and individuals in recovery—to work with the Division.

In the current reporting period, the Quality Improvement Subcommittee, with technical support from the
Alcohol, Drug Addiction, and Mental Health Services (“ADAMHS”) Board of Cuyahoga County, has met regularly
and worked to assess not only the effectiveness of CDP’s CIT policies and Crisis Intervention Plan, but also the
gaps in accessing mental health and addiction services. Committee members designed a data template to analyze
how the CDP’s crisis intervention data can be used to identify necessary ongoing treatment services by providers
who work with the ADAMHS Board. Because the work on this template relates to the ongoing upgrades to the
Division’s CAD system, the outcome data is preliminary and based on sampling strategies which limits the ability
to draw definitive conclusions. Still, the Subcommittee’s work to develop the data template underscores
MHRAC’s commitment to identify underserved populations, individuals in need of innovative support, and
indices that can provide an outcome measure of time to service.

2018 In-Service Training

The Second-Year Crisis Intervention In-Service Training (“Second-Year CIT Training” or “2018 CIT Training”)
curriculum for all CDP officers was submitted to the Court for final approval on July 13, 2018. The training began
on July 16, 2018. Both the lead crisis intervention expert for the Monitoring Team and the Training Committee
representative from the Department of Justice noted that the Division and MHRAC took strong ownership of the
2018 CIT Training. As of the end of the year, CDP reported that 98% of officers eligible to attend the crisis
intervention training had completed it.

The training builds on the successful 2017 Crisis Intervention First-Year Training by providing a refresher on
principles of the initial training, but also by providing specific guidance for officers to resolve mental health crises,
including by not arresting the subject and instead referring to an appropriate mental health agency; transporting
the subject voluntarily to a hospital or crisis center; transporting the subject involuntarily to a hospital or crisis
center; and arresting the individual when appropriate. The Second-Year CIT Training also addresses how trauma
can impact law enforcement officers, the symptoms of post-traumatic stress disorder on officers, and how to
access resources for help within the Division and in the Cleveland community. The specific topics for this
curriculum were informed by a survey completed by officers after the 2017 Crisis Intervention Training.

Officer feedback for the 2018 CIT Training was positive. Of roughly 1100 CDP officers who completed the
evaluation ratings, nearly eighty percent (79.4%) agreed or strongly agreed that the instructor accomplished the
learning objectives for the course. Just under seventy percent of all officers (69.6%) agreed or strongly agreed that




                                                          35
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 38 of 85. PageID #: 4796
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



the 2018 CIT Training enhanced their understanding of the course material. Almost eighty percent of the officers
(79.4%) agreed or strongly agreed that the instructor encouraged critical engagement with the material. Just under
four percent (3.6%) disagreed or strongly disagreed with the statement. Qualitatively, the Division’s CIT
Coordinator, Captain James Purcell, observed strong officer engagement with the training.

Representatives of the Department of Justice attended sessions of the 2018 CIT Training and reported positive
observations. DOJ noted that the classes generated productive discussion of the issues and that the officers were
actively engaged in question-and-answer sessions. The Monitoring Team members reported similar positive
feedback.

Altogether, the Monitoring Team applauds MHRAC and the Division’s hard work to prepare and conduct
continued high-quality officer training on principles of crisis intervention and mental and behavioral health—
consistent subjects of interest for Cleveland residents engaged in the Division’s ongoing reforms.

Specialized Training

In the current reporting period, the MHRAC Training Subcommittee collaborated with CDP, the City, the
Department of Justice, and the Monitoring Team to develop the final draft of the 40-Hour Specialized CIT
Curriculum.

The 40-hour curriculum represents a significant amount of work, covering 11 major content areas. Additionally,
trainees will participate in three types of direct experiences which include: (1) on-site interactions with individuals
with lived experiences who are recovering from mental illness and substance abuse, (2) in-depth scenarios based
on CDP crisis intervention calls, and (3) realistic simulations of symptoms related to mental illness such as hearing
voices while attempting to accomplish simple commands. Volunteer faculty have provided a lesson plan, an
instructor’s manual, and a set of PowerPoint slides with video where appropriate. As of February 2019, the
curriculum is in the final stages of editing and approval by the Training Subcommittee and MHRAC as a whole. A
start date for the training of the Specialized CIT Officers is anticipated late in the first quarter of 2019.

Community Engagement

MHRAC’s Community Engagement Subcommittee has continued to work to ensure that community members
are well-informed about the Division’s CIT Program. In the current reporting period, the subcommittee has
prepared an early 2019 community update on the Division’s progress in improving crisis intervention services.
Previous community education efforts have required a great deal of planning and technical assistance from both
the Department of Justice and the Monitoring Team. This time, the community update has been planned and will
be executed independently. The Monitoring Team is pleased to see that MHRAC is taking ownership of the
principles of the Consent Decree in an effort to ensure a continued positive impact well past the Decree’s formal
timeframe.

Progress and Tasks that Remain

MHRAC Diversion Subcommittee




                                                         36
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 39 of 85. PageID #: 4797
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



As the Cleveland Division of Police completes the 40-hour Training for Specialized Crisis Intervention Officers,
the MHRAC’s Diversion Subcommittee will serve an important role in providing assistance to the Division. The
MHRAC Third Annual Work Plan provides six goals for the Diversion Subcommittee: utilizing the Crisis
Stabilization Unit as a diversion point, identifying diversion points for adolescents, exploring the need for two
crisis centers in the county, promoting awareness of new diversion options, working with behavioral partners to
address capacity issues, and coordinating work with the Veterans Health Administration. These goals involve a
number of funding and community issues that will take additional time to resolve. However, it is clear that the
ADAMHS Board and CDP are committed to having the MHRAC Diversion Subcommittee complete the tasks
involved which will have an important impact on those in need of crisis services. The Diversion Subcommittee
has been meeting regularly and is demonstrating new energy in tackling this ambitious agenda.

Data & Compliance Reviews

As with a number of other areas of the Decree, the ability to more comprehensively and smoothly collect and track
data depends on the Division’s new electronic system for inputting crisis-related data. This will ensure that crisis-
related data can be input electronically and easily. Future, formalized assessments will need to explore whether
officers are improving their de-escalation skills and seriously considering the process of diversion across time,
officers, and incidents. Further, CDP will need to publicly report this outcome data annually and provide it to the
Advisory Committee.82

Separately, the Monitoring Team will need to analyze data and review a material sample of incidents involving
individuals in crisis to certify that officers—across time, incidents, and subjects—are complying with the new
crisis intervention policies and the requirements of the Consent Decree. As discussed earlier, while the initial
efforts from the MHRAC Quality Improvement subcommittee are encouraging, the completion of a system for
logging information and data about CDP interactions with individuals in crisis remains a critical factor in assessing
compliance. At the current juncture, the type of analysis necessary to certify compliance with a host of
requirements related to crisis intervention consequently cannot be undertaken.

In-Service Training Assessment and Continuous Improvement

CDP and MHRAC have successfully implemented two years of in-service training for all officers. MHRAC’s
Quality Improvement Subcommittee has begun to review training evaluation feedback to identify potential areas
of improvement and iteration, which is a good start in a process of continuous quality improvement. As more data
becomes available, CDP will need to conduct formalized assessments of the outcome data to “identify training
needs and develop case studies and teaching scenarios for crisis intervention training as well as primary and in-
service crisis training curriculum[.]”83

Selection of Specialized CIT Officers

The Division’s Specialized CIT Officer Selection Plan, which outlines a three-stage process of a participation
request, personnel file review, and selection board interview, was reviewed and approved by MHRAC, as well as

82
     Dkt. 7-1 at ¶ 158.
83
     Id. at ¶ 159.


                                                        37
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 40 of 85. PageID #: 4798
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



by the Court, in August 2017. Although the Selection Plan itself is complete, the actual selection process has been
rescheduled pending the completion of the new 40-Hour specialized curriculum. The Team anticipates that the
selection process will be completed by the end of the first quarter.

Dispatcher CIT Officer Training

Dispatchers will need to receive additional comprehensive and thorough training so that all CDP personnel that
affect the Division’s crisis responses are prepared and understand the complex issues relating to mental and
behavioral health. The Training Subcommittee has continued work on the CDP’s existing CIT curriculum for
dispatchers and call takers, which focuses on personnel being able to identify calls for service that may implicate
crisis intervention issues and dispatching appropriate resources to the scene of such events. To date, an outline
has been developed, and the more specific curriculum will be fully finalized once the 40-Hour Curriculum for
specialized CIT officers is completed. The final revision of the Dispatch Crisis Intervention Curriculum is
scheduled for completion by mid-2019.

Academy Training

Following the Consent Decree’s approval and implementation by the Court, the Ohio Peace Officer Training
Commission issued a new Crisis Intervention training curriculum for Ohio peace officers.84 CDP recruits received
this curriculum as part of Academy Training. The Parties, MHRAC, CDP, and the Monitoring Team had agreed
that this new training is a reasonable substitute for the Decree-required sixteen hours of Academy Training.

Now that new recruits proceeding through the Academy are back to being trained in Cleveland rather than the
Ohio State Patrol Academy, MHRAC will work with CDP to assure the Ohio Peace Officer Training Commission
Crisis Intervention training remains a viable part of patrol officer training.




84
  Ohio Peace Officer Training Commission: Education & Policy Section, Peace Officer Basic Training Crisis
Intervention, 1-156 (Jan. 2016).


                                                        38
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 41 of 85. PageID #: 4799
                                    Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



VIII.    SEARCH AND SEIZURE

 Paragraph                                                                                     Status of
                                                                                               Compliance
 160. “CDP will revise, develop, and implement search and seizure policies that comply PARTIAL
 with applicable law, . . . include the requirements below,” and conform to expressly- COMPLIANCE
 identified principles.
 161–65. Policy requirements for officers for stops, searches, and detentions.                 PARTIAL
                                                                                               COMPLIANCE
 166. “Officers will immediately notify a supervisor when effectuating a custodial arrest EVALUATION
 for obstructing official business, resisting arrest, or assault an officer and no other DEFERRED
 substantive violation is alleged,” and “the supervisor will respond to the scene.”
 167. “Officers will not use ‘canned’ or conclusory language without supporting detail in EVALUATION
 documents or reports documenting investigatory stops, searches, or arrests.”                  DEFERRED
 168. “Officers will articulate the justification for an investigatory stop, search, or arrest EVALUATION
 in a specific and clear manner in their reports.” CDP “will train officers” on DEFERRED
 documenting stops. “Supervisors will review all documentation of investigatory stops,
 searches, and arrests.”
 169. Supervisor will review of “each arrest report by officers under their command,” EVALUATION
 with supervisors reviewing reports for specific, expressly-identified deficiencies.           DEFERRED
 170–72. Supervisory review of investigatory stops, searches, and arrests.                     EVALUATION
                                                                                               DEFERRED
 173. Provision of “initial training that is adequate in quality, quantity, scope, and type EVALUATION
 on investigatory stops, searches, and arrests, including the requirements” of the DEFERRED
 Consent Decree that “will address the requirements of Fourth Amendment and related
 law, CDP policies,” and specific, expressly-identified topics.
 174–75. Provision of “annual search and seizure in-service training that is adequate in EVALUATION
 quality, quantity, type, and scope” incorporating specific, expressly-identified topics.      DEFERRED

Background

The Consent Decree requires that CDP “revise, develop, and implement” policies on how its officers “conduct all
investigatory stops, searches, and arrests with the goal” that such actions comply with the “Constitution, state and
federal law.”85 In addition to ensuring that officers enforce these legal requirements, the policies also will prohibit
officers from relying on a subject’s “race, ethnicity, gender, and perceived sexual orientation” as a reason to stop,
search, or arrest an individual.86

The Consent Decree requires that CDP officers use specific details in reports documenting the events that led to
an investigatory stop, search, or arrest without the use of “canned or conclusory statements.”87 Immediate


85
   Dkt. 7-1 ¶ 160.
86
   Dkt. 7-1 ¶ 161; Dkt. 97 at 42.
87
   Id. at ¶ 167.



                                                         39
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 42 of 85. PageID #: 4800
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



supervisors and command staff are tasked with reviewing officer reports in a timely fashion to ensure compliance
with applicable laws and CDP policies.88 This review is designed to address violations and deficiencies in the
documentation while also authorizing supervisors to recommend corrective and disciplinary action, along with
criminal investigation, where appropriate.89

Where the Division Stands

On August 15, 2018, the Parties and Monitoring Team completed drafts of five related policies: Search & Seizure,
Investigative Stops, Probable Cause/Warrantless Arrests, Strip and Body Cavity Searches, and Miranda Warning
and Waiver. These drafts were then shared with the Cleveland community for their comment. This was a major
milestone in a lengthy process that began in the fall of 2017.

Once the draft policies became available, the Community Police Commission, led by its Search and Seizure Work
Group, gathered public feedback on the draft policies. The CPC shared its final report on Search and Seizure
policy recommendations to the City on November 14, with support from key stakeholder groups, including the
ACLU of Ohio, the Cleveland Branch of the NAACP, and the Legal Aid Society of Cleveland. The CPC’s
substantial efforts are described in more detail earlier in the Community Engagement section of this Report.

The City also gathered community feedback separate from the CPC, utilizing CDP’s District Policing Committees
and other partnerships, which yielded some valuable feedback and insight.

Following the close of the community input period on November 14, 2018, the Division has been working to
finalize the five draft policies, incorporating public comments as appropriate into the final policies. The Team
anticipates that the policies will be completed and prepared for the Court’s approval early in the upcoming
reporting period.

The Division’s Training Section has also worked to prepare early drafts of a curriculum for Search and Seizure
training that will guide officers through new expectations for stops, searches, seizures, and arrests. This training
will be part of the Division’s 2019 in-service training. The City, Division, DOJ, and Monitoring Team will continue
to work together to finalize training for all officers on the new policies.

Progress and Tasks that Remain

Approval of Policies

As described above, the Team anticipates that the process of finalizing the five related Search and Seizure policies
will conclude shortly and that the policies will be submitted to the Court early in the next reporting period.




88
     Id. at ¶¶ 168-72.
89
     Id.



                                                        40
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 43 of 85. PageID #: 4801
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Training

The Monitoring Team and DOJ will continue to work with the Division to ensure that training on the revised
Search and Seizure policies is high-quality, engaging, informative, and appropriately grounded in realistic
scenarios.

Policy Implementation

After all patrol officers receive training and the policies become effective, the Monitoring Team will (1) evaluate
the numbers and trends with respect to who is being stopped, under what circumstances, and what the outcomes
of those stops are; and (2) audit a host of stops themselves to determine if officers both articulated and had in fact
sufficient legal grounds for any stop, detention, search, or arrest. This will include evaluation of whether
supervisors are adhering to their requirements under the Division’s final policies and the Decree.




                                                         41
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 44 of 85. PageID #: 4802
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



IX.     ACCOUNTABILITY

 Paragraph                                                                                        Status of
                                                                                                  Compliance
 176. “The City and CDP will ensure that all allegations of officer misconduct, whether EVALUATION
 internally discovered or alleged by a civilian, are fully, fairly, and efficiently investigated; DEFERRED
 that all investigative findings are supported by a preponderance of the evidence and
 documented in writing; and that all officers who commit misconduct are held
 accountable pursuant to a disciplinary system that is fair, consistent, and provides due
 process.”

A.      Internally Discovered Misconduct

 Paragraph                                                                                     Status of
                                                                                               Compliance
 177. “Internal Affairs will conduct objective, comprehensive, and timely investigations EVALUATION
 of all internal allegations,” with “findings . . . based on the preponderance of the DEFERRED
 evidence standard” that must “be clearly delineated in policies, training, and procedures
 and accompanied by detailed examples to ensure proper application by investigators.”
 178. “Internal Affairs will be headed by a qualified civilian” who “will report directly to OPERATIONAL
 the Chief of Police.                                                                          COMPLIANCE
 179. Qualifications for IA investigators.                                                     EVALUATION
                                                                                               DEFERRED
 180. Initial training for IA investigators “that is adequate in quality, quantity, scope, and GENERAL
 type on conducting misconduct investigations” that addresses specific, expressly- COMPLIANCE
 identified topics.
 181. “[A]nnual training” for IA investigators “that is adequate in quality, quantity, type EVALUATION
 and scope”                                                                                    DEFERRED
 182. “In each investigation, Internal Affairs will collect and consider” all evidence. EVALUATION
 “[N]o automatic preference for an officer’s statement over a non-officer’s statement.” DEFERRED
 No disregard of a “witnesses’ statement solely because of” connection to the
 complainant or criminal history. IA investigators must “make all reasonable efforts to
 resolve material inconsistencies between witness statements.”
 183. IA “will evaluate all relevant police activity and any evidence of potential EVALUATION
 misconduct uncovered during the course of the investigation.”                                 DEFERRED
 184. IA will not consider guilty plea or verdict as “determinative of whether a CDP EVALUATION
 officer engaged in misconduct” or justification for “discontinuing the investigation.”        DEFERRED
 185. IA “will complete its administrative investigations within 30 days from the date it EVALUATION
 learns of the alleged misconduct.”                                                            DEFERRED
 186–87. IA investigative report requirements.                                                 EVALUATION
                                                                                               DEFERRED




                                                      42
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 45 of 85. PageID #: 4803
                                   Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



     188. Forwarding of completed IA investigations “to the officers’ supervisors, the           EVALUATION
     Training Review Committee, the Force Review Board, the Officer Intervention                 DEFERRED
     Program, and the Data Collection and Analysis Coordinator.”
     189. “CDP will require any CDP employee who observes or becomes aware of any”               OPERATIONAL
     potential misconduct to “report the incident to a supervisor or directly to” IA.            COMPLIANCE
     190. “CDP will develop a system that allows officers to confidentially and anonymously      OPERATIONAL
     report potential misconduct by other officers.”                                             COMPLIANCE
     191. “CDP will expressly prohibit all forms of retaliation, discouragement, intimidation,   OPERATIONAL
     coercion, or adverse action, against any person, civilian or officer, who reports           COMPLIANCE
     misconduct, makes a misconduct complaint, or cooperates with an investigation of
     misconduct.”
     192. “Officers who retaliate . . . will be subject to the disciplinary process.”            OPERATIONAL
                                                                                                 COMPLIANCE

Background

Under the Consent Decree, the CDP’s Internal Affairs (“IA”) unit “will conduct objective, comprehensive, and
timely investigations of internal allegations of officer misconduct.”90 CDP have an affirmative obligation, under
CDP policy, when they “observe[] or become[] aware of any act of misconduct by another employee to report
their incident to a supervisor or directly to Internal Affairs.”91 Division policy “will expressly prohibit all forms of
retaliation, discouragement, intimidation, coercion, or adverse action, against any person . . . who reports
misconduct[.]”92

The IA-related provisions are among the most urgent and pressing of the Decree’s requirements. The inadequacy
of IA investigations was no surprise. An analysis of 2015 IA investigations conducted by the Monitoring Team
reaffirmed the problems with IA’s performance.93 A majority of the Division’s 2015 investigations were of either
fair or poor quality, with significant pieces of relevant data missing from investigative files. Internal Affairs must
be the primary engine for the Division’s administrative (non-criminal) investigations of officer misconduct and,
more generally, the main oversight mechanism for ensuring that the Division’s performance standards are being
met.

Where Internal Affairs Stands Now

The work of the current reporting period has focused on finalizing the policies and procedures to guide Internal
Affairs investigations. Prior to the Consent Decree, IA did not have in place the types of rigorous, codified
procedures for conducting its investigations and performing its duties that analogous units in similarly-situated
departments have.




90
   Dkt. 7-1 at ¶ 177.
91
   Id. at ¶ 189. Such reporting may be confidential or anonymous.
92
   Id. at ¶ 191.
93
   Fifth Semiannual Report at 76-77.



                                                            43
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 46 of 85. PageID #: 4804
                                  Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



The Parties are drafting several IA policies, including the IA Manual and other IA-related policies, that will
establish the rules and protocols that will guide IA staff and investigators in all IA investigations going forward.
The Monitoring Team anticipates that these policies will be completed and submitted for the Court’s approval in
the upcoming reporting period.

Along with finalizing the IA policies, IA Superintendent Bakeman began working on training and staffing Internal
Affairs to ensure a solid foundation for Settlement Agreement compliant investigations in the future. The Decree
requires that the Division provide initial and annual training to all new and existing personnel “that is adequate in
quality, quantity, scope, and type on conducting misconduct investigations.”94 This training must address
fundamental topics including:

       •    “[I]nvestigative skills, including proper interrogation and interview techniques; gathering and
            objectively analyzing evidence; and data and case management”;
       •    “[T]he particular challenges of administrative police misconduct investigations, including identifying
            alleged misconduct that is not clearly stated in the complaint or that becomes apparent during the
            investigation”;
       •    “[P]roperly weighing the credibility of civilian witnesses against officers”;
       •    “[U]sing objective evidence to resolve inconsistent statements”;
       •    “[T]he proper application of the preponderance of the evidence standard”; and
       •    “CDP rules and policies, including the requirements of this Agreement, and protocols related to
            administrative investigations of alleged officer misconduct.”95

The first step in conducting the necessary initial training took place in November 2018 with an Internal Affairs
investigative training conducted by an outside vendor and attended by current Internal Affairs staff as well as
select CDP officers anticipating future assignment to Internal Affairs. The Monitoring Team and DOJ
representatives attended the training and were pleased to see that attendees were well engaged. The training
inspired lively classroom discussions about case scenarios, techniques, legal issues, and the complexities of these
types of investigations. The Monitoring Team was impressed by the curriculum and the expertise of the trainers.
Informal feedback from CDP officers, detectives, supervisors, and commanders who attended the class praised
the training.

The Monitoring Team still needs to give the new Superintendent the opportunity to internally improve IA
processes and procedures before conducting qualitative analyses on current IA investigative practices. The
Monitoring Team anticipates beginning a subsequent round of qualitative analysis in the latter part of 2019 to
evaluate whether investigations conducted in the first two quarters of the year appear to represent an
improvement to the 2016 evaluation of 2015 cases that the Team previously conducted.

Progress and Tasks that Remain




94
     Dkt. 7-1 at ¶¶ 180-81.
95
     Id.



                                                          44
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 47 of 85. PageID #: 4805
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019




Staffing

As the Monitoring Team has indicated in prior Reports, Internal Affairs is woefully understaffed. No sustainable
improvements will be possible until IA receives both the quality and quantity of investigative Sergeants necessary
to ensure timely and competent investigations of internal misconduct. The Division’s Staffing Plan primarily, and
largely appropriately, focuses on patrol staffing considerations. CDP will need to ensure that it subsequently
addresses the specific staffing needs of various specialized units, including IA.

Ensuring Investigative Integrity for Cases Investigated Outside of Internal Affairs

Some recent internal investigations have continued to take place outside of Internal Affairs. The Division will
need to work over the course of the next reporting period to identify how to best achieve compliance with
Consent Decree requirements around reasonable discipline and on competent underlying investigations in this
regard. It will be helpful in this regard for the Division to delineate all City entities that handle issues relating to
CDP member conduct (such as the City’s Human Resources or the Department of Public Safety’s Accident
Investigation Unit), so that their functions can be coordinated and integrated with the Division’s IA function.

Compliance with Policies, Protocols, and Procedures

As with many other areas that are the focus of the reform process, sporadically high-quality investigations amid
generally poor-quality investigations, or occasionally bad investigations among generally good ones, is not
sufficient to establish compliance. Instead, it is the sustained adherence to the high standards of the Decree and
policy that will set the occasion for substantial and effective compliance. As the Monitoring Team has previously
outlined, it will accordingly conduct systematic audits to ensure that IA investigations—across time, investigators,
and incidents—comply with the requirements of the Decree.

B.       Office of Professional Standards (“OPS”)

Paragraph                                                                                      Status of Compliance
193. OPS “investigate[s] all civilian complaints it receives, other than those that allege     OPERATIONAL
criminal conduct,” which are referred to IA. Excessive force complaints generally              COMPLIANCE
retained by OPS. IA investigations referred back to OPS if “determination is made that
no criminal conduct occurred.”
194. “The City will ensure that OPS is led by an administrator with the skills, expertise,     OPERATIONAL
and experience to effectively manage the intake, tracking, timely, and objective               COMPLIANCE
investigation of complaints”; implement PRB training; “assess OPS’s equipment and
staffing needs”; and “develop and implement performance standards for OPS.”
195–96. Initial training for OPS investigators “adequate in quality, quantity, scope, and      OPERATIONAL
type,” including specific, expressly-listed topics.                                            COMPLIANCE
197. “OPS Investigators will not be current members of the CDP, and no CDP personnel           OPERATIONAL
will have any active role in OPS’s operations.”                                                COMPLIANCE
198. “The City will ensure that the lawyer representing OPS does not have any actual or        OPERATIONAL
apparent conflicts of interest.”                                                               COMPLIANCE



                                                          45
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 48 of 85. PageID #: 4806
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



199. “OPS will have its own budget, separate from . . . the Department of Public Safety”         OPERATIONAL
that “affords sufficient independence and resources, including sufficient staff and              COMPLIANCE
training to meet the terms of this Agreement.”
200. Development and implementation of OPS operations manual “made available to                  OPERATIONAL
the public” that covers specific, expressly-listed topics.                                       COMPLIANCE
201. Development and implementation of “a program to promote awareness through                   EVALUATION
the Cleveland community about the process for filing complaints with OPS.”                       DEFERRED
202. “CDP and the City will work with the police unions . . . to allow civilian complaints       OPERATIONAL
to be submitted to OPS verbally or in writing; in person, by phone, or on line; by a             COMPLIANCE
complainant, someone acting on his or her behalf, or anonymously; and with or without
a signature from the complainant,” with all “complaints documented in writing.”
203. “CDP will post and maintain by the intake window at CDP headquarters and all                OPERATIONAL
District headquarters a permanent placard describing the civilian complaint process”             COMPLIANCE
and containing specific, expressly-listed information.
204. “CDP will provide training that is adequate in quality, quantity, scope, and type to        PARTIAL
all police personnel, including dispatchers, to properly handle complaint intake,                COMPLIANCE
including” with respect to specific, expressly-listed topics.
205. CDP officers “carry complaint forms in their CDP vehicles,” which officers must             EVALUATION
provide “upon request.” Supervisors will be dispatched to scene when an individual               DEFERRED
wants to make a complaint, with the supervisor providing a copy of completed
complaint form “or a blank form to be completed later by the individual.”
206. “The City and OPS will make complaint forms and other materials outlining the               OPERATIONAL
complaint process and OPS’s contact information available at locations” including a              COMPLIANCE
number of specific, expressly-listed locations.
207. “OPS’s complaint form will not contain any language that could reasonably be                OPERATIONAL
construed as discouraging the filing of a complaint, including warnings about the                COMPLIANCE
potential criminal consequences for filing false complaints.”
208. Availability of complaint forms in English and Spanish. “OPS will make every                OPERATIONAL
effort to ensure that complainants who speak other languages . . . can file complaints in        COMPLIANCE
their preferred language.”
209. “City will ensure that civilian complaints submitted through other existing                 OPERATIONAL
systems, including the Mayor’s Action Center and the Department Action Center, are               COMPLIANCE
immediately forwarded to OPS for investigation.”
210. “OPS will establish a centralized electronic numbering and tracking system for all          OPERATIONAL
complaints,” which “will maintain accurate and reliable data regarding the number,               COMPLIANCE
nature, and status of all complaints . . . including investigation timeliness and notification
of the interim status and final disposition of the complaint.” It “will be used to monitor
and maintain appropriate caseloads for OPS investigators.”
211. Biased policing tracked as a separate category of complaint that “are captured and          EVALUATION
tracked appropriately, even if the complainant does not so label the allegation.”                DEFERRED
212. “[A]llegations of unlawful investigatory stops, searches, or arrests” tracked as a          EVALUATION
separate category of complaints.                                                                 DEFERRED




                                                           46
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 49 of 85. PageID #: 4807
                             Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



213. “[A]llegations of excessive use of force” tracked as separate category of complaints. EVALUATION
                                                                                            DEFERRED
214. “OPS will conduct regular assessments of the types of complaints being received to NON-
identify and assess potential problematic patterns and trends.”                             COMPLIANCE
215. “OPS will produce, at least annually, a public report summarizing complaint trends, PARTIAL
including” with respect several specific, expressly-identified areas.                       COMPLIANCE
216. Assignment of complaints to Standard and Complex investigatory tracks.                 OPERATIONAL
                                                                                            COMPLIANCE
217. Dismissal and/or administrative dismissal of complaint investigations.                 OPERATIONAL
                                                                                            COMPLIANCE
218. “OPS will ensure that investigations of complaints are as thorough as necessary to PARTIAL
reach reliable and complete findings that are supported by the preponderance of the COMPLIANCE
evidence.”
219. “CDP will ensure that OPS has timely access to all reports related to the incident . . EVALUATION
. ,” and authority of OPS “to conduct additional investigation” of civilian complaint DEFERRED
when CDP investigation has already taken place relating to the incident.
220. “OPS investigators will attempt to interview each complainant in person” and OPERATIONAL
record the interview.                                                                       COMPLIANCE
221. “The Chief will order officers who witnessed or participate in an incident that is the OPERATIONAL
subject of an OPS complaint to cooperate with the OPS investigation,” including by COMPLIANCE
responding to written questions or sitting for an in-person interview.
222. “OPS investigators will have access to any relevant disciplinary information in the EVALUATION
record of an officer who is the subject of a current investigation.”                        DEFERRED
223. “OPS will consider all relevant evidence,” with no preferences for particular EVALUATION
witness’s statements, including of officer over a non-officer, or because of connection to DEFERRED
complainant or criminal history. “OPS will make all reasonable efforts to resolve
material inconsistencies between witness statements.”
224. OPS findings categories.                                                               OPERATIONAL
                                                                                            COMPLIANCE
225. “OPS will document in writing the investigation of each complaint, including all PARTIAL
investigatory steps taken, and OPS’s findings and conclusions,” which must “be COMPLIANCE
supported by a preponderance of the evidence.
226. Items for consideration for OPS findings.                                              PARTIAL
                                                                                            COMPLIANCE
227. “OPS will forward all investigations and its written conclusions to PRB in sufficient OPERATIONAL
time for PRB to consider them no later than the second regularly scheduled PRB COMPLIANCE
meeting following completion of the investigation.”
228. “OPS will send periodic written updates” to the complainant at specific, expressly- EVALUATION
identified junctures.                                                                       DEFERRED
229. “[A] complainant may contact OPS at any time to determine the status of his/her EVALUATION
complaint.”                                                                                 DEFERRED




                                                   47
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 50 of 85. PageID #: 4808
                                   Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Background

To properly ensure that officers are held to account for violations of policy and law, police departments need a
credible and transparent system for investigating civilian complaints of misconduct. In Cleveland, the Office of
Professional Standards (“OPS”) is the civilian-staffed office charged with investigating the complaints of civilians
about Division of Police personnel. The City Charter requires OPS to conduct “a full and complete investigation”
of all citizen complaints of employee misconduct.96

The Consent Decree has a number of requirements—such as hiring a qualified and experienced OPS
Administrator, ensuring high-quality training for investigators, establishing a separate budget for OPS, and
promoting awareness throughout Cleveland about the availability of civilian complaint forms—all designed to
ensure that OPS can conduct thorough and competent investigations of civilian complaints and reach findings
that are supported by the preponderance of evidence.97

Where OPS Stands Now

OPS has completed a number of major milestones, including developing a new OPS Operations Manual with
detailed procedures for investigations, report writing, and evidence collection. The City also hired Mr. Roger
Smith as the new OPS Administrator in June 2018.

The City’s hiring of Hillard Heintze has helped to reduce the backlog of uninvestigated or partially investigated
civilian complaints, which was at a reported backlog of 377 cases as of the start of 2018, to approximately 75 cases.
This has been a serious undertaking, and the Monitoring Team is pleased that significant progress is being made.
The Team is hopeful that the current efforts at backlog reduction will develop into a long-term trend in favor of
timely OPS investigations and referrals to the Police Review Board for resolution of complaints.

In the past, the lack of timely reviews of investigations has made it impossible for OPS to comply with Paragraph
227 of the Consent Decree, which requires OPS to “forward all investigations and its written conclusions to the
PRB in sufficient time for PRB to consider them no later than the second regularly scheduled PRB meeting
following completion of the investigation.” Starting in June 2018, however, the new OPS Administrator put new
practices into place to better ensure the timely referral of completed investigations to the PRB for their
consideration. The Team has observed that OPS is now completing findings letters upon the completion of PRB
hearings in a generally timely manner. That is an encouraging development.

Now that OPS has experienced leadership to implement changes in day-to-day practices on newly-received
complaints, the Monitoring Team has seen some improvements in the quality of OPS investigative practices. OPS
still needs to make additional progress to address some fundamental investigative deficiencies.




96
     Charter of the City of Cleveland, § 115-4.
97
     Dkt. 7-1 at ¶¶ 193-229.



                                                        48
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 51 of 85. PageID #: 4809
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Staffing

OPS has staffed up considerably in the past year, most significantly with a new Administrator and Supervising
Investigator working to improve OPS’s investigative procedures. OPS has worked to fill three significant
vacancies for Research Analyst, General Manager, and Community Outreach Coordinator. Recently, offers for
the both the Research Analyst and Community Outreach positions were accepted by the final candidates. The
General Manager position is also in advanced discussions with a final candidate. These hires will be critical to
OPS’s sustained reform and ultimate compliance with the Consent Decree.

In part due to understaffing in OPS and the many competing demands on existing OPS personnel, the Monitoring
Team and the Parties agreed that the completion date for the 2018 Annual Report, summarizing complaint trends
and timeframes for the public and required under Paragraph 215 of the Decree, will be extended to April 30, 2019.
The Monitoring Team anticipates that the next Annual Report will contain more substantive information relating
the work conducted by OPS and the PRB than in previous reports and has recommended that OPS present its
next report to the City Council’s Public Safety Committee in public session.

Progress and Tasks that Remain

OPS has made commendable progress to improve its practices since the Consent Decree monitoring began in
October 2015. Given the host of foundational issues that it faced, however, OPS must still address a number of
challenges. The City and OPS Administrator will need to continue to exert significant time, energy, and resources
to make OPS into a functional and credible oversight agency.

Completing the Backlog of Open Investigations

First, the City will need to fully address and adjudicate the previously-unclosed investigations received prior to
January 1, 2018 that have still not been completed or received a final disposition. The Team is pleased, as described
earlier, that aggressive measures reportedly taken by the new OPS Administrator and Senior Investigator have
reduced the ongoing caseload to a respectable average of 75 cases. When divided between the current staff of nine
OPS investigators, the overall caseload appears to be reasonable and would appear to support timely and
competent investigations of future complaints made to the OPS.

Case Management System/Business Mapping

As the Monitoring Team has stated before, proper case management is a basic, foundational management tool for
an investigatory agency with OPS’s charge to operate successfully in a city the size of Cleveland. Under the
Consent Decree, OPS will “establish a centralized electronic numbering and tracking system . . . [which] will
maintain accurate and reliable data regarding the number, nature, and status of all complaints” and which can be
used by OPS administration “to monitor and maintain appropriate caseloads for OPS investigators.”98

The Monitoring Team looks forward to the hiring of a new OPS Management Analyst (anticipated to occur in the
first quarter of 2019), which will allow OPS to take full advantage of IAPro as its case management software.

98
     Dkt. 7-1 at ¶ 210.



                                                        49
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 52 of 85. PageID #: 4810
                                   Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Ongoing Issues of the Quality of OPS Investigations & Training Needs

Under the Consent Decree, OPS investigators need to receive “initial training that is adequate in quality, quantity,
scope, and type” that addresses:

       •    “[I]nvestigative skills, including proper interrogation and interview techniques; gathering and objectively
            analyzing evidence; and data and case management;
       •    “[T]he particular challenges of administrative investigations of police conduct, including identifying
            conduct warranting investigation that is not clearly stated in the complaint or that becomes apparent
            during the investigation;
       •    “[P]roperly weighing the credibility of civilian witnesses against officers;
       •    “[U]sing objective evidence to resolve inconsistent statements;
       •    “[T]he proper application of the preponderance of the evidence standard; and
       •    “CDP rules and policies, including the requirements of this Agreement, and protocols related to
            administrative investigations of officer conduct alleged to be improper.”99
     •
Early in the Decree’s implementation, OPS provided some training to its investigators. But given the deficiencies
that the Team has continued to observe and has noted in the past, it was clear that what they had received had not
been enough to sufficiently improve the quality of OPS investigations.

Since his hiring as the OPS Administrator, Mr. Smith has conducted weekly in-house training sessions for OPS
investigators. The positive response from OPS staff has been noteworthy. The Monitoring Team intends to
conduct qualitative evaluations of OPS investigations over the course of the next two reporting periods and is
hopeful that significant improvements will be noted. Ultimately, the proof of the efficacy and sufficiency of
training conducted to date will be in the quality and integrity of OPS’s investigations.

OPS Staff Performance Reviews

In the Fourth Semiannual Report, the Monitoring Team noted that OPS had then only recently set forth formal
expectations (the “Smart Objectives”) for its investigators relating to the conduct of investigations—even though
this was a process available to all City managers across departments to set and hold employees accountable for
specific performance expectations. Unfortunately, a Monitoring Team review of the documentation provided by
OPS relative to the performance review process revealed problematic practices, with major discrepancies
between scores and overall performance reviews, with minimal documentation, if any, available to support the
ratings provided to both permanent and temporary investigators.

It has been the Monitoring Team’s expectation that the new OPS Administrator will ensure a robust employee
performance review process at OPS to ensure employee adherence to OPS Court-approved policies and best
practices in investigations based on the training that has been and will continue to be received. Thus far, Mr. Smith
has reported conducting ongoing performance reviews. The Monitoring Team looks forward to seeing
substantive, written performance reviews coming out of OPS in the next reporting period.



99
     Dkt. 7-1 at ¶ 195-96.



                                                           50
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 53 of 85. PageID #: 4811
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Complaint Forms

Under the Consent Decree, the City and OPS “will make complaint forms and other materials outlining the
complaint process and OPS’s contact information available at locations” including a number of specific, expressly-
listed locations.100 Further, all CDP officers will “carry complaint forms in their CDP vehicles.”101

While the City and CDP have consistently maintained that they have made complaint forms available at the
Decree-enumerated locations, Monitoring Team members have visited the locations and have, on occasion, not
found the forms readily available. Similarly, Monitoring Team members have requested CDP officers to procure
an OPS complaint form, to which officers sometimes have been unable to provide one from their vehicle. The
Monitoring Team has begun working on an audit program to assess, among other things, the accessibility of
complaint forms in vehicles and at CDP District stations. A recent, informal audit in January 2019 indicated that
several District stations had OPS complaint forms in both English and Spanish available in the lobby as well as a
poster explaining the complaint process.

C.          Police Review Board (“PRB”)

  Paragraph                                                                                 Status of
                                                                                            Compliance
  230. “Mayor will work with the City Council to develop an ordinance to place a Charter    GENERAL
  Amendment on the ballot” addressing PRB composition and appointment process.              COMPLIANCE
  231. “PRB members will not be current or former members of the CDP.”                      GENERAL
                                                                                            COMPLIANCE
  232. “PRB will have its own budget,” overseen by OPS Administrator and separate from      OPERATIONAL
  Department of Public Safety, that “affords sufficient independence and resources.”        COMPLIANCE
  233–34. Initial training for PRB members “that is adequate in quality, quantity, scope,   PARTIAL
  and type” and that covers specific, expressly-identified topics.                          COMPLIANCE
  235. PRB meetings open to the public and posted in advance, with “case presentations      OPERATIONAL
  and PRB votes” occurring during “open session.”                                           COMPLIANCE
  236. “OPS investigators will attend PRB meetings at which their investigations are        PARTIAL
  being considered and present their findings . . . . ” PRB may “ask the investigator to    COMPLIANCE
  conduct further investigation” as necessary.
  237. “PRB recommended dispositions will be based on a preponderance of the                EVALUATION
  evidence. For each case, PRB shall set forth its conclusion and an explanation of its     DEFERRED
  reasons and supporting evidence in writing, including, when applicable, the
  justification for departing from OPS’s recommended disposition.”
  238. “In cases where PRB is recommending a sustained disposition, in whole or in part,    OPERATIONAL
  PRB will include a recommendation as to disciplinary or non-disciplinary corrective       COMPLIANCE
  action.”



100
      Dkt. 7-1 at ¶ 206.
101
      Id. at ¶ 205.



                                                        51
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 54 of 85. PageID #: 4812
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



 239. [Timely] forwarding of PRB recommendations to Chief of Police and Director of OPERATIONAL
 Public Safety.                                                                     COMPLIANCE

Background

Cleveland’s civilian Police Review Board (“PRB” or “the Board”) reviews and analyzes completed OPS
investigations. It makes a formal recommendation to the Chief of Police on the ultimate disposition of the case
and, if warranted, the discipline that an involved officer should receive. A well-functioning PRB is critical to
ensuring that OPS investigations are sound and that the Chief of Police receives a well-informed recommendation
on the disposition of OPS cases.

The Consent Decree has many requirements relating to the PRB, including that the “PRB will have its own
budget[,]” PRB members will receive initial training, PRB meetings will be held open to the public and posted in
advance, “OPS investigators will attend PRB meetings at which their investigations are being considered and
present their findings[,]” “PRB recommended dispositions will be based on a preponderance of the evidence[,]”
and that the PRB will, when recommending sustained disposition, “include a recommendation as to disciplinary
or non-disciplinary corrective action.”102

Where the PRB Stands

Since the adoption of the PRB Operations Manual in 2017, which codified changes made in the November 2016
City Charter Amendment, and the subsequent adoption of an amendment to permit the PRB to have public
meetings, the PRB continues to convene regularly to address cases that it receives from OPS. However, the
performance of the PRB has largely been at the mercy of OPS. The timeliness of the PRB’s review of cases, and
precisely what the PRB is reviewing, depends on how well OPS has effectuated its duties in the investigatory stage.

PRB members have, in the past, received auxiliary training that did not qualify as the initial training called for in
the Decree. As the PRB has taken on new members, OPS has had to create a training protocol for new members
to ensure the seamless operation of the PRB going forward; by the end of the last reporting period, OPS had
successfully completed a training binder which was subsequently provided to all current members of the PRB as
a resource. OPS Administrator Smith also included PRB members in OPS investigator training that took place in
December 2018. The inclusion of PRB members in this type of training was a positive step forward in ensuring
adequacy of PRB reviews now and in the future.

On January 8, 2019, one of the PRB’s members resigned from the Board. The City has initiated the selection
process for filling the Board vacancy and expects that the selection and appointment will be finalized in early
March 2019.




102
      Dkt. 7-1 at ¶¶ 232-38.



                                                        52
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 55 of 85. PageID #: 4813
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Progress and Tasks that Remain

Quality of PRB Recommendations & Processes

The Monitoring Team has observed several cases in which the Chief disagreed with PRB recommendations
without providing a robust written rationale. The Team has similarly noted what appear to be largely ad hoc
communications between the Chief and the Board, usually through the OPS Administrator. The OPS/PRB
program would benefit from a formal, written protocol between the PRB and the Chief’s Office to address
systemic communication issues and to ensure that the Chief and PRB understand each other’s rationale for
making recommendations and decisions on complaints.

Documentation of PRB Decision-Making

The PRB has previously struggled with the timely documentation of the rationale for its decisions. In the current
reporting period, OPS reported that PRB disposition letters (letters to complainants documenting non-sustained
finings made by the PRB) and findings letters (letters to the CDP documenting sustained findings made by the
PRB) have, on the whole, been prepared in a timely fashion. The Monitoring Team has also noted an improvement
in the quality of findings letters. In the upcoming year, the Monitoring Team will be reviewing the quality of the
disposition letters to ensure that complainants are being provided sufficient information to fully understand PRB
findings closing their complaints with no further action to be taken.

Systemic Compliance

Previous Monitoring Team observations of the PRB indicated that the Board had some distance to travel until it
could be certified as adhering across time, cases, and deliberations to the requirements of the Decree and the
Court-approved PRB Manual. Again, a significant reason that this scope of work remains is related to the ongoing
deficiencies with OPS as, to some extent, PRB can only ever be as good as the quality and nature of the
investigations that they receive.

After giving OPS more time to improve the quality of its investigations, the Monitoring Team will, once again,
monitor and review the work of the PRB to ensure that improved investigations are also resulting in improved
reviews and recommendations to the Chief. Ultimately, before the performance of OPS and PRB can be found to
be in compliance with the Consent Decree, the Monitoring Team and Court will need to certify that the Board is
effectively and meaningfully carrying out its duties in a sufficiently thorough, fair, and timely manner.

D.      Discipline and Disciplinary Hearings

 Paragraph                                                                              Status of
                                                                                        Compliance
 240. “The Chief of CDP will issue a General Police Order that requires officers to (a) OPERATIONAL
 cooperate with the Internal Affairs and OPS investigators; and (b) submit all relevant COMPLIANCE
 evidence to the investigators such that it is available for consideration by Internal
 Affairs or PRB.”




                                                       53
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 56 of 85. PageID #: 4814
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



 241. Disciplinary hearing requirement, with officer given “opportunity to testify” and        EVALUATION
 suspension of hearing if “officer provides new or additional evidence at hearing,” with       DEFERRED
 matter “returned to IA or PRB for consideration.”
 242. Written justification by Chief or Director of decision to “not uphold the charges”       NON-
 or “does not impose the recommended discipline or non-disciplinary corrective action”         COMPLIANCE
 where PRB previously “recommends the initiation of the disciplinary process and
 recommends a disciplinary level.”
 243. “CDP will track the number of instances in which the Chief or the Director of            NON-
 Public Safety rejects, in whole or in part, PRB’s recommended disposition.”                   COMPLIANCE
 245. “CDP will ensure that discipline for sustained allegations of misconduct comports        EVALUATION
 with due process, and is consistently applied, fair, and based on the nature of the           DEFERRED
 allegation, and that mitigating and aggravating factors are identified and consistently
 applied and documented.”
 246. “CDP will review its current matrix and will seek to amend it” “to ensure           OPERATIONAL
 consistency” and inclusion of a number of specific, expressly-identified features.       COMPLIANCE
 247. “All disciplinary decisions will be documented in writing.”                         NON-
                                                                                          COMPLIANCE
 248. “CDP will provide its disciplinary matrix to the Commission, the Police Inspector OPERATIONAL
 General, and the police unions for comment.”                                             COMPLIANCE
 249. “CDP will work with the unions to allow for sustained disciplinary findings to stay PARTIAL
 in an officer’s record for ten years.”                                                   COMPLIANCE

Background

The Consent Decree requires that CDP “ensure that discipline for sustained allegations of misconduct comports
with due process, and is consistently applied, fair, and based on the nature of the allegation, and that mitigating
and aggravating factors are identified and consistently applied and documented.”103 To that end, the Division “will
review its current disciplinary matrix and will seek to amend it as necessary[.]”104 Specifically, CDP must ensure
that the new disciplinary matrix:

          •    “[E]stablishes a presumptive range of discipline for each type of rule violation;”
          •    “[I]ncreases the presumptive discipline based on an officer’s prior violations of the same or other
               rules;”
          •    “[P]rohibits consideration of the officer’s race, gender, national origin, age, ethnicity, familial
               relationships, or sexual orientation” as well as “the high (or low) profile nature of the incident;” and
          •    “[P]rovides that CDP will not take only non-disciplinary corrective action in cases in which the
               disciplinary matrix calls for the imposition of discipline” but may consider non-disciplinary
               corrective action “in a case where discipline has [already] been imposed.”105



103
    Dkt. 7-1 ¶ 245.
104
    Id.
105
    Id. at ¶ 246.



                                                          54
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 57 of 85. PageID #: 4815
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Where the Division Stands

Since January 1, 2018, the Division has been operating according to the revised, Court-approved Disciplinary
Matrix that establishes presumptive ranges of discipline and mitigating or aggravating factors. Since the
promulgation of the new Matrix, the Monitoring Team has begun to audit disciplinary decisions along with the
underlying investigations that precipitated them in real-time. The Parties and Team have begun to discuss various
areas that require improvement with respect to the discipline process and will focus on these issues in the coming
reporting period.

Progress and Tasks that Remain

Disciplinary Process Changes

The procedures and processes that the Division uses from the time a misconduct investigation is completed to
when discipline is imposed will need to be addressed to ensure that they are fair, uniform, objective, and timely.
In December 2018, the Division provided the DOJ and Monitoring Team with a substantive draft of guidelines for
the conduct of “Chief’s Hearings.” While additional discussions need to take place regarding the content of the
guidelines, the creation of this draft is an excellent step forward in ensuring systemic compliance with paragraph
245 of the Consent Decree.

Relationship of Disciplinary Process to Voluntary City/Police Union Agreements

The Consent Decree requires the Division to “work with the unions to allow for sustained disciplinary findings to
stay in an officer’s record for ten years.”106 The City raised the issue with the police unions in recent bargaining
and accepted that sustained disciplinary findings would remain in an officer’s record for less than ten years. The
City has indicated that it will revisit the matter in future negotiations.

Systemic Evaluation of Discipline

A comprehensive evaluation of the imposition of discipline will need to be conducted to determine how the
Disciplinary Matrix is functioning in practice and to “ensure that . . . officers who commit misconduct are held
accountable pursuant to a disciplinary system that is fair, consistent, and provides due process.”107




106
      Id. at ¶ 249.
107
      Id. at ¶ at ¶ 176.



                                                        55
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 58 of 85. PageID #: 4816
                                   Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



X.          TRANSPARENCY & OVERSIGHT

A.          Police Inspector General

 Paragraph                                                                                  Status of Compliance
 250. “The City will hire an individual or individuals with significant experience in law   EVALUATION
 enforcement practices and civil rights law to serve as a Police Inspector General”         DEFERRED
 (“IG”). City must seek CPC’s “input in developing minimum qualifications and
 experience” for IG.
 251. IG work in Office of Mayor but report to Chief of Police.                           EVALUATION
                                                                                          DEFERRED
 252. IG “will not be a current or former employee of CDP.”                               EVALUATION
                                                                                          DEFERRED
 253–54. Duties and authority of IG.                                                      EVALUATION
                                                                                          DEFERRED
 255. Budget of IG must be “a separate line item” in City budget and “afford[] sufficient PARTIAL
 independence and resources” to comply with Consent Decree.                               COMPLIANCE
 256. IG “will have access to all documents and data necessary to perform the above EVALUATION
 functions, including any raw data.”                                                      DEFERRED

Background

The Consent Decree creates a new, internal oversight function within the Division—a Police Inspector General
(the “IG”). “The IG’s substantial duties include, but are not limited to, review of CDP policies and practices,
auditing, conducting investigations, analyzing data for aggregate and systemic trends, developing specific
recommendations for reform, analyzing investigations conducted by OPS to determine if they are adequate, and
reviewing imposed discipline.”108 The IG’s reports and recommendations must be made public.109

Where the Division Stands

In the current reporting period, and after a lengthy process to recruit and spread information about the Inspector
General position on a national scale, the City completed the interviewing process and selected a final candidate to
become the Division’s new IG. The hiring of the candidate, through no fault of the City, ultimately did not work
out. This constituted a major setback, though through no apparent fault of the City. The City reposted the
Inspector General position, which closed February 22, 2019.

Progress and Tasks that Remain

Once hired, the Police Inspector General, with his or her day-to-day responsibility in conducting assessments,
reviews, and audits, will be a significant benefit to the Division and the Consent Decree process. Again, the Team
understands that the recent delays in hiring the Inspector General were largely out of the City’s hands. It

108
      Dkt. 7-1 ¶ 253.
109
      Dkt. 97 at 53 (quoting Dkt. 7-1 ¶ 253) (internal quotations omitted).



                                                            56
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 59 of 85. PageID #: 4817
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



continues to look forward to the IG’s hiring, which will be an important milestone in effectuating the kind of
oversight called for by the Decree.

Once the IG is hired, the Parties and Monitoring Team must also ensure that the Police Inspector General has the
resources, budget, and “sufficient independence” to successfully review practices, audit, analyze data, and provide
actionable recommendations to the Division of Police.110 Likewise, the work of the Inspector General will need to
reflect the rigor and independence that the Consent Decree contemplates. To that end, the Monitoring Team
will be evaluating his or her performance over time to ensure that such standards are being appropriately met.
The ultimate goal is for the institutionalized IG to take on a role of independent auditor with respect to the
Division’s overall performance, systems, and processes—sustaining and driving change long after CDP has
reached substantial and effective compliance with the particular provisions of the Consent Decree.

B.          Data Collection and Analysis

  Paragraph                                                                                Status of
                                                                                           Compliance
  257. “CDP will collect and maintain all data and records necessary to accurately PARTIAL
  evaluate its use of force practices and search and seizure practices and facilitate COMPLIANCE
  transparency and, as permitted by law, broad access to information related to CDP’s
  decision making and activities. To achieve this outcome, CDP will designate an
  individual or individuals as the ‘Data Collection and Analysis Coordinator.’”
  258. Coordinator “will ensure the collection and tracking of all documents related to PARTIAL
  uses of force and allegations of misconduct and related materials,” including specific, COMPLIANCE
  expressly-listed materials and information.
  259. Coordinator “will ensure the creation and maintenance of a reliable and accurate PARTIAL
  electronic system to track all data derived from force-related documents,” including COMPLIANCE
  specific, expressly-identified data.
  260. Coordinator “will ensure the creation and maintenance of a reliable and accurate PARTIAL
  electronic system to track data on all vehicle stops, investigatory stops, and searches, COMPLIANCE
  whether or not they result in an arrest or issuance of a summons or citation.” The
  system must conform to a number of specific, expressly-identified requirements.
  261. Coordinator must “routine[ly] report[] . . . relevant data to the Chief of Police, PARTIAL
  FRB, Training Review Committee, OPS, the [Community Police] Commission, and the COMPLIANCE
  Police Inspector General.”
  262. Coordinator “responsible for the annual assessment of forms and data collection PARTIAL
  systems to improve the accuracy and reliability of data collection.”                     COMPLIANCE
  263. Coordinator “will develop a protocol to accurately analyze the data collected and OPERATIONAL
  allow for” various outcome measurements, “subject to the review and approval of the COMPLIANCE
  Monitor and DOJ.”
  264. Annually, “CDP will conduct an assessment and issue a report summarizing its EVALUATION
  investigatory stop, search, and arrest data” that addresses various specific, expressly- DEFERRED
  identified topics.

110
      Dkt. 7-1 at ¶ 255.


                                                        57
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 60 of 85. PageID #: 4818
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



  265. Annually, “CDP will conduct an assessment and issue a report of all activities, EVALUATION
  including use of force, arrests, motor vehicles and investigatory stops, and misconduct DEFERRED
  complaints alleging discrimination, to determine whether CDP’s activities are applied
  or administered in a way that discriminates against individuals on the basis of race” or
  other listed prohibited classes or characteristics, and that addresses various specific,
  expressly-identified topics.
  266. Annual analysis of “prior year’s force” data with FRB.                              EVALUATION
                                                                                           DEFERRED

Background

The Consent Decree requires that the Division collect, use, and report data on its activities and performance in a
more modern and comprehensive fashion. To effectuate this, the Decree requires that CDP hire a Data Collection
and Analysis Coordinator (the “Data Coordinator” or “Coordinator”) to help ensure that CDP maintains the
required information in a manner that “facilitate[s] transparency and . . . broad public access to information related
to CDP’s decision making and activities.”111 The Coordinator is specifically tasked with ensuring the collection
and tracking of all information related to uses of force, search and seizure practices, and allegations of misconduct.
The Coordinator will create and maintain “a reliable and accurate electronic system to track” use of force-related
data and search and seizure information.112

The Coordinator also is “responsible for the routine reporting of relevant data” to various entities within the
Division113; conducting annual assessments of both use of force and investigatory stop data114; and analyzing
Division practices for potential disproportionate or disparate impacts with respect to “race, ethnicity, gender,
disability, sexual orientation, or gender identity.”115 These reports must “be made publicly available.”116

Where the Division Stands

During the current reporting period, Dr. Rania Issa, the Data Coordinator, has continued to meet regularly with
CDP leadership—presenting thorough analyses of use of force data, including trends on the number of force
incidents reported by month, as well as trends on the timeliness of reviews of use of force reports. The analysis
can be disaggregated by month and by CDP District, allowing the Division to identify and focus on particular areas
of improvement.

Other information about officer misconduct investigations conducted by IA is substantially more robust, detailed,
and up-to-date now than in the past. This allows for enhanced accountability and the ability of IA to manage itself
more efficiently and effectively.



111
    Dkt. 7-1 at ¶ 257.
112
    Id. at ¶¶ 259-60.
113
    Id. at ¶ 261.
114
    Id. at ¶¶ 263, 264, 266.
115
    Id. at ¶ 265.
116
    Id. at ¶ 267.


                                                         58
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 61 of 85. PageID #: 4819
                                  Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Progress and Tasks That Remain

For as much progress as CDP has made in its ability to collect and analyze data in some areas, there are two
substantial tasks that remain in the area of information and data. The first is successfully establishing and
implementing mechanisms for the collection of critical data on stops, searches, and arrests; crisis intervention; and
community policing. As this report discusses elsewhere, the Division originally contemplated using the
Computer-Aided Dispatch (“CAD”) system for logging such information. However, for a variety of technical
reasons, the City is now needing to consider other database platforms.

The collection of this data—on stops, crisis incidents, and community policing—is essential for gauging the
success of new policies and programs and evaluating ultimate compliance with the Consent Decree. With efforts
still focusing on determining the system that will be used, it will take some time before personnel can be trained
on using the selected electronic platform, information can be collected in real-time, and aggregate data analyzed.
Until such data can be evaluated for a sufficiently material period of time, the Division will not be able to
demonstrate as definitively as it must that its performance complies with its various policies, plans, and initiatives.

The second major task with respect to data is for CDP to regularly incorporate the analysis provided by the new
Coordinator into its day-to-day management decisions. It remains unclear to the Monitoring Team how the CDP
uses and acts on data beyond crime and offense statistics. The Team looks forward to the Division continuing to
commit to a culture of objective, data-informed decision-making in its ability to meet community needs, inform
how it polices and organizes its activities, and gauge precisely how well it is doing to meet its strategic goals.

C.           Public Availability of CDP-Related Information

  Paragraph                                                                            Status of
                                                                                       Compliance
  267. “[A]ll CDP audits, reports, and outcome analyses related to the implementation” NON-
  of the Consent Decree will be public.                                                COMPLIANCE
  268. “CDP will post its policies and procedures, training plans, community policing PARTIAL
  initiatives, community meeting schedules, budgets, and internal audit reports on its COMPLIANCE
  website.”

Background

The Consent Decree requires that CDP’s “policies and procedures, training plans, community policing initiatives,
community meeting schedules, budgets, and internal audit reports” be posted on CDP’s website.117 Likewise, “[t]o
ensure transparency in the implementation of” the Decree, “all CDP audits, reports, and outcome analyses related
to the implementation of this [the Consent Decree] will be made publicly available, including at the City and CDP
websites.”118

Where the Division Stands

117
      Dkt. 7-1 at 1; id. ¶ 268.
118
      Dkt. 7-1 ¶ 267.



                                                         59
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 62 of 85. PageID #: 4820
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019




Over the last several reporting periods, the Monitoring Team has not observed any recent material changes, one
way or another, in the public availability of audits, budgets, and outcome reports. The City has expressed that it
plans to make General Police Orders, divisional notices, and other internal documents articulating the Division’s
policies and processes more navigable and accessible. Because CDP has posted some Consent Decree-related
documents on its website with some regularity, the Monitoring Team concludes that the Division is in “Partial
Compliance” with the Decree’s requirements under Paragraph 268. Still, to reach full and Substantial Compliance
with the Decree, the Division will need to bolster its commitment to provide the community with regular and
transparent updates on its activities and performance.

Progress and Tasks That Remain

As indicated above, the City must make all CDP audits, reports, and outcome analyses related to the
implementation of the Consent Decree public.

Additionally, the Division must also establish a general policy for the release or provision of records, data, or
information to the public. Police departments elsewhere are going to great lengths to collaborate dynamically
with their communities to set clear expectations, in advance of an incident occurring or an information request
arising, about what it can or will release and what it cannot or will not make available. Knowing what to expect
and how to proceed in advance leads to better outcomes for community members and the Division. Having
information about how the police do their work also helps the community better understand the unique
challenges of law enforcement professionals. The Monitoring Team looks forward to the Division making
progress on a general policy on the public availability of CDP-related information in the upcoming reporting
periods.




                                                       60
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 63 of 85. PageID #: 4821
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



XI.     OFFICER ASSISTANCE & SUPPORT

A.      Training

 Paragraph                                                                                     Status of Compliance
 269. “CDP will ensure that officers receive adequate training to understand: (a) how          PARTIAL
 to police effectively and safely in accordance with CDP policy; [and] (b) the                 COMPLIANCE
 requirements of this Agreement, Ohio law, and the Constitution and laws of the United
 States,” including in the areas of “procedural justice, bias-free policing, and community
 policing.”
 270. “CDP will expand the scope and membership of the Training Review                         PARTIAL
 Committee.”                                                                                   COMPLIANCE
 271–72. “[T]he Training Review Committee will develop a written training plan for             NON-
 CDP’s recruit academy, probationary field training, and in-service training” that             COMPLIANCE
 addresses a host of specific, expressly-identified issues.
 273. “The Training Plan and schedule will be implemented once any objections have             PARTIAL
 been resolved” on a yearly basis.                                                             COMPLIANCE
 274. “The Training Review Committee will annually review and updated CDP’s                    NON-
 training plan” by “conduct[ing] a needs assessment” that addresses a number of                COMPLIANCE
 specific, expressly-identified data and information on real-world trends, needs, policy,
 and law.
 275. “CDP’s Commander responsible for training” will be in charge of “all CDP                 PARTIAL
 training.                                                                                     COMPLIANCE
 276. “CDP will designate a single training coordinator in each District. The                  PARTIAL
 Commander responsible for training will establish and maintain communications with            COMPLIANCE
 each District training coordinator to ensure that all officers complete training as
 required and that documentation of training is provided to the” training Commander.
 277. “CDP will develop recruit academy and in-service curricula that comport with”            PARTIAL
 the Training Plan and Consent Decree requirements.                                            COMPLIANCE
 278. “[T]he training required under this Agreement . . . will be delivered within two         EVALUATION
 years of the Effective Date.”                                                                 DEFERRED
 279. “For all other substantive updates or revisions to policy or procedure, CDP will         PARTIAL
 ensure and document that all relevant CDP personnel have received and read the                COMPLIANCE
 policy or procedure. Notification of each revision or update will include the rationale
 for policy changes and the difference between the old and updated policy.”
 280. Training Commander reviews all training materials; ensures that they use “a              PARTIAL
 variety of adult learning techniques, scenario-based training, and problem-solving            COMPLIANCE
 practices”; and “ensure that all curricula, lesson plans, instructor’s qualifications, and
 testing materials are reviewed by the Training Review Committee.”
 281. “CDP will ensure that instructors are qualified and use only curricula and lesson        PARTIAL
 plans that have been approved by the” Training Commander.                                     COMPLIANCE
 282. “CDP will revise, as necessary, its field training program for graduates of the police   EVALUATION
 academy to comport with” the Training Plan and Consent Decree.                                DEFERRED




                                                         61
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 64 of 85. PageID #: 4822
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



 283. “The field training program will incorporate community and problem-oriented           EVALUATION
 policing principles, and problem-based learning methods.”                                  DEFERRED
 284. Review and revision of Field Training Officer (“FTO”) “participation policy to        EVALUATION
 establish and implement a program that effectively attracts the best FTO candidates”       DEFERRED
 and “revise eligibility criteria” for FTOs.
 285. New FTOs and Field Training Sergeants must “receive initial and in-service            EVALUATION
 training that is adequate in quality, quantity, scope, and type, and that addresses” a     DEFERRED
 number of specific, expressly-listed topics and conforms to a number of additional
 features or requirements.
 286. “CDP will create a mechanism for recruits to provide confidential feedback            EVALUATION
 regarding the quality of their field training,” and the Division “will document its        DEFERRED
 response, including the rationale behind any responsive action taken or decision to
 take no action.”
 287. “Training Review Committee will, on an annual basis, analyze all aspects of CDP’s     EVALUATION
 FTO program,” “consider emerging national policing practices in this area,” and            DEFERRED
 “recommend, and CDP will institute, appropriate changes to policies, procedures, and
 training related to its FTO program.”
 288. “CDP will document all training provided to or received by CDP officers,” with        EVALUATION
 officers “sign[ing] an acknowledgement of attendance or digitally acknowledge[ing]         DEFERRED
 completion of each training course,” which “will be maintained in a format that allows
 for analysis by training type, training date, training source, and by individual officer
 name.”
 289. “CDP will develop and implement a system that will allow the Training Section         OPERATIONAL
 to electronically track, maintain, and produce complete and accurate records of            COMPLIANCE
 current curricula, lesson plans, training delivered, and other training materials in a
 centralized electronic file system.”
 290. “CDP will develop and implement accountability measures . . . to ensure that all      PARTIAL
 officers successfully complete all required training programs in a timely manner.”         COMPLIANCE

Background

Alongside new policies and improved accountability mechanisms, organizational change and the setting of new
expectations comes from high-quality officer training. For that reason, training is a major focus of the Consent
Decree. The Decree mandates comprehensive officer training to introduce CDP personnel to the many new
requirements and expectations of Decree-required policies or initiatives—on things like use of force, crisis
intervention, and search and seizure. High-quality, immersive training is necessary to have officers understand
and feel comfortable with new expectations. To facilitate this substantial training, the Decree requires a number
of changes to the Division’s ongoing, structural capacity to train and educate its officers—focusing on things like
the Academy curriculum used for training new personnel, the Field Training Officer program for training and
overseeing newly-minted Academy graduates, and a Training Review Committee to set and coordinate training
priorities based on the Division’s needs.




                                                        62
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 65 of 85. PageID #: 4823
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Before the Consent Decree process, Cleveland’s ongoing professional development of its officers was minimal
and largely pro forma. It consisted of various Ohio state requirements, standard re-qualifications or re-
certifications with various equipment and force instruments, and an assortment of scattered topics that did not
align with strategic objectives or issues raised and lessons learned through real-world officer experience.
Consequently, successful implementation of the Consent Decree requires the Division to adjust to a “new
normal”—namely, the adoption of a new volume, quality, and conception of ongoing officer training consistent
with the practices of numerous other urban police departments across the country. This adjustment is still very
much a work-in-progress.

Where the Division Stands

During the current reporting period, the Division’s Training Section launched three major training initiatives in
its 2018 in-service training: (1) a Community Engagement and Problem-Solving (“CEPS”) training, (2) a training
on Bias-Free Policing, and (3) the Second-Year Crisis Intervention Training.

Notwithstanding the Training Section’s good faith efforts, the Decree envisions the use of a Training Review
Committee (“TRC”) in the development and ongoing assessment of CDP training. Under the Decree, the TRC is
to include, alongside the Division’s Training Section, District training coordinators, union representatives, and
members of the Community Police Commission.119 The TRC “will annually review and update CDP’s training
plan” by “conduct[ing] a needs assessment” that considers “trends in misconduct complaints; problematic uses of
force; analysis of officer safety issues; input from members at all levels of CDP; input from members of the
community, including community concerns; court decisions’ research reflecting the latest in law enforcement
trends; individual District needs; and any changes to Ohio or federal law, and to CDP policy.”120 The active and
ongoing engagement of the TRC helps to ensure that in-service training for current officers is strategic and
responsive to the emerging needs of CDP personnel and Cleveland residents. In short, the TRC was imagined to
strategically quarterback and manage the Division’s training efforts.

Although the CDP’s Training Review Committee was formally created early in the Decree’s implementation and
officially put into place with a Court-approved policy in April 2016, the TRC’s actual operations remain at best
suboptimal. At worst, they are non-existent. The Monitoring Team’s Third Semiannual Report in June 2017
reported that “changes in leadership in the Training Section have frustrated the Division’s efforts to establish the
Training Review Committee as the locus of activity with respect to identifying training needs, setting priorities,
and determining what training initiatives need to happen when.”121

It appears to the Monitoring Team that the TRC has played little to no meaningful role in reviewing or developing
a training plan. As the Team described in its Fifth Semiannual Report:

        [T]he Training Review Committee appears to exist only on paper, despite it being the first policy
        that was completed and approved during the Consent Decree’s implementation. . . . The
        Committee must play an active role not simply because the Consent Decree requires it but

119
    Dkt. 7-1 at ¶ 270.
120
    Id. at ¶ 271.
121
    Third Semiannual Report at 61.



                                                        63
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 66 of 85. PageID #: 4824
                                     Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



            because the Training Section needs to have the input and assistance of individuals from across
            the Division—in setting priorities, developing training, and gauging whether specific training
            initiatives or measures have, in fact, worked as intended.122

Progress and Tasks that Remain

Substantial and Effective Compliance with Training Review Committee Requirements

Practically speaking, the Training Review Committee exists only theoretically—on paper, not in practice. As
described above, the Decree contemplates a TRC that is the functional center for the Division’s training activities
and planning. Although the Division appears to dismiss the TRC as one of a number of needless bureaucratic
exercises codified in the Consent Decree, all of the departments in which the Monitoring Team’s members with
sworn experience have either worked or led have had some analogous structure.

The Monitoring Team looks forward to the Division finally taking the necessary steps to reengage the TRC,
particularly as it develops its training plan for 2019 in-service training.

Training Staffing & Resources

Notwithstanding the need to reengage the TRC, CDP’s Training Section must be properly staffed in order to meet
the substantial scope of training mandated by the Consent Decree. One crucial element that stacked the deck
against the 2018 training on community engagement and bias-free policing was the lack of dedicated, high-quality
instructors. Rather than pull from a pool of experienced trainers, the Division relied on representatives with
comparatively minimal experience—all for trainings in subjects that can be notoriously demanding for training
staff to conduct.

Elsewhere in this Report, the Monitoring Team notes that it largely approves of the City’s staffing plan for the
Division with respect to its treatment of patrol operations overall. With respect to the staffing of specialized
units—like Training—the Parties and Monitoring Team agree that future discussion and refinement will be
necessary to identify, in the long run, what the appropriate levels should be.

The Monitoring Team has previously urged that CDP consider devoting additional resources to the Training
Section to ensure that it can balance both the critical and extraordinary demands of training up five recruit
classes—not a requirement of the Consent Decree but a practical reality in light of officer attrition rates and the
City’s public commitments—while making sufficient progress on the Consent Decree.

Academy Training and Field Training Program

Along with requirements for annual in-service training for existing CDP officers, the “Consent Decree . . . contains
certain obligations relating to the training of new officers at the Academy.”123 Likewise, it contains provisions



122
      Fifth Semiannual Report at 116.
123
      Dkt. 97 at 55; Dkt. 7-1 ¶¶ 271, 275, 277.



                                                         64
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 67 of 85. PageID #: 4825
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



relating to the Division’s field training program, in which recent Academy graduates participate during their early
days on the force.124

Given the scope of in-service training that the Decree requires, the City and Division’s focus for the first half of
the Decree’s implementation has been on developing and implementing core training for current CDP officers.
As the Division turns to academy and field training, especially now that new recruits are back to being trained in
Cleveland, CDP will need to “review and revise” its academy and field training programs such that they are
meeting the requirements of the Decree.125

The Monitoring Team will be very clear here: the training being offered to new recruits in the Academy and to
new officers via the Field Training Program has not yet been worked on by the Consent Decree and will need to
be comprehensively evaluated and revised, as necessary, in order for the Division to reach substantial and effective
compliance with the Consent Decree. It must also be noted that it is not just the revision of curriculum that is
necessary: it is the verified, meaningful implementation through high-quality instruction on that curriculum in the
Academy that will be necessary for compliance.

B.          Equipment & Resources

  Paragraph                                                                                Status     of
                                                                                           Compliance
  291. “The City will implement” paragraphs regarding equipment and resources in order PARTIAL
  to allow implementation of the Consent Decree “and to allow officers to perform their COMPLIANCE
  jobs safely, effectively, and efficiently.”
  292. “CDP will complete a comprehensive equipment and resource study to assess its PARTIAL
  current needs and priorities,” and it “will develop an effective, comprehensive COMPLIANCE
  Equipment and Resource Plan that is consistent with its mission and that will allow it
  to satisfy the requirements of this Agreement.”
  293. “CDP’s Equipment and Resource Plan will provide for necessary equipment PARTIAL
  including, at least” “an adequate number of computers”; “an adequate number of COMPLIANCE
  operable and safe zone cars”; “zone cards with reliable, functioning computers that
  provide officers with up-to-date technology” including computer-aided dispatch, the
  records management system, and various core law enforcement systems; and “zone
  cards equipped with first-aid kits.” “This plan also will ensure that CDP properly
  maintains and seeks to continuously improve upon existing equipment and technology;
  and is appropriately identifying equipment needs and seeking to utilize, as appropriate,
  emerging technologies.”
  294. “CDP will actively seek input and feedback from the Commission, patrol officers, PARTIAL
  and supervisors regarding resource allocation, equipment needs, and technological COMPLIANCE
  improvements.”
  295. “City and CDP” must “us[e] best efforts to implement the Equipment and PARTIAL
  Resource Plan as required.”                                                              COMPLIANCE

124
      Dkt. 7-1 ¶¶ 282–87.
125
      Id.



                                                        65
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 68 of 85. PageID #: 4826
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



  296. “CDP will . . . implement an effective, centralized records management system.”     PARTIAL
                                                                                           COMPLIANCE
  297. “CDP will utilize a department-wide e-mail system to improve communication PARTIAL
  and information sharing.”                                                                COMPLIANCE
  298. “CDP will employ information technology professionals who are trained to PARTIAL
  conduct crime and intelligence analysis, who are capable of troubleshooting and COMPLIANCE
  maintaining information technology systems and who can identify and suggest
  appropriate technological advancements.”
  299. “CDP will implement an effective employee assistance program that provides PARTIAL
  officers ready access to the mental health and support resources necessary to facilitate COMPLIANCE
  effective and constitutional policing.”

Background

To address the Division’s equipment and resource needs, the Consent Decree requires the City of Cleveland to
“develop an effective, comprehensive Equipment and Resource Plan that is consistent with its mission and that
will allow it to satisfy the requirements of this Agreement.”126 The Plan must “provide for necessary equipment
including, at least . . . an adequate number of computers; an adequate number of operable and safe zone cars; zone
cars with reliable, functioning computers that provide officers with up-to-date technology, including” mobile
computer-aided dispatch (“CAD”), access to the Division’s records management system (“RMS”), and access to
law enforcement databases; and “zone cars equipped with first-aid kits . . . . ”127 It must address how the Division
will satisfy the other substantive requirements of the Decree.128 It likewise must “ensure that CDP” both “properly
maintains and seeks to continuously improve upon existing equipment and technology” and “is appropriately
identifying equipment needs and seeking to utilize, as appropriate, emerging technologies.”129

Where the Division Stands

During the current reporting period, the City of Cleveland and CDP reached several important milestones with
respect to technology, equipment, and resources. Previously, the City had developed an Equipment and Resource
Plan in 2017 (the “2017 Plan”). The Monitoring Team approved some portions of the Plan, particularly those
involving overdue upgrades to CDP’s CAD platform and modernizing CDP’s fleet of patrol vehicles, but declined
to approve the 2017 Plan with respect to paragraphs 292; 293(a), (e), and (f); 294; and 298. Of greatest importance,
the Plan needed to outline a clear process for identifying emerging technology and equipment needs within the
Division in the future.

In October 2018, the City completed a subsequent Equipment and Resource Plan (“2018 Plan”) that further
outlined the Division’s strategic goals to strengthen its equipment and information technology platforms in a
manner that will enhance CDP’s ability to promote officer and public safety. Critically, the 2018 Plan focuses on
the mechanisms that will ensure that CDP remains up-to-date with respect to emerging technology and

126
    Dkt. 7-1 ¶ 292.
127
    Id. ¶ 293.
128
    Id. ¶ 292.
129
    Id. ¶ 293.



                                                        66
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 69 of 85. PageID #: 4827
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



equipment. For example, the 2018 Plan includes, among other things, an IT governance strategy that holds staff
accountable for upgrading and maintaining applications, systems, and technology. It also establishes an oversight
committee to continually identify and implement new technologies and IT investments. On November 2, 2018,
in a motion to the Court, the Monitoring Team concluded that “the 2018 Plan, when and only when taken together
with the previously-approved portions of the 2017 Plan, constitutes a complete and satisfactory Equipment and
Resource Plan that meets the terms of the Consent Decree.”130

The completion of the Equipment and Resource Plan is an extremely positive milestone for which the City, and
especially its IT staff, should be commended. It establishes a meaningful foundation for the hard work already
being conducted toward modernizing the Division of Police and a specific playbook for technological upgrades
still necessary.

Progress and Tasks that Remain

In the coming reporting period and over the remainder of the Consent Decree’s term, the Monitoring Team plans
to conduct systemic assessments to evaluate whether the City’s reported upgrades to equipment and technology,
as well as the steps outlined in the 2018 Equipment and Resource Plan, are occurring as contemplated and whether
the changes are, in fact, improving the day-to-day operations of CDP staff. It remains critical that officers have
access to modern, well-maintained, and up-to-date technological platforms so that they have the tools they need
to do their jobs safely and effectively.

C.          Recruitment & Hiring

 Paragraph                                                                                      Status of Compliance
 300. “CDP will review and revise . . . its recruitment and hiring program to ensure that       PARTIAL
 CDP successfully attracts and hires a diverse group of qualified individuals.”                 COMPLIANCE
 301. “The Mayor will work with the City Council to develop an ordinance to place a             GENERAL
 Charter Amendment on the ballot that would give the appointing authority greater               COMPLIANCE
 flexibility in the selection of candidates from the certified eligibility list for the CDP.”
 302. “CDP will develop a recruitment policy and a strategic recruitment plan that              EVALUATION
 includes clear goals, objectives, and action steps for attracting qualified applicants from    DEFERRED
 a broad cross-section of the community” and meets certain specific, expressly-listed
 requirements.
 303. “The City will implement the recruitment plan within 60 days of it being approved         EVALUATION
 by the Monitor.”                                                                               DEFERRED
 304. “CDP’s recruitment plan will include specific strategies for attracting a diverse         PARTIAL
 group of applicants,” including officers with various, specific, expressly-listed skills and   COMPLIANCE
 backgrounds.
 305. “In developing and implementing its recruitment plan, CDP will consult with the           PARTIAL
 [Community Police] Commission and other community stakeholders on strategies to                COMPLIANCE
 attract a diverse pool of applicants.”


130
      Dkt. 226 at 6.



                                                          67
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 70 of 85. PageID #: 4828
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



  306. “[O]bjective system for hiring and selecting recruits” that “employs reliable and      PARTIAL
  valid selection criteria.”                                                                  COMPLIANCE
  307. “CDP will report annually to the public its recruiting activities and outcomes,”       EVALUATION
  which will include information on various, expressly-listed areas.                          DEFERRED
  308. “[A]ll candidates for sworn personnel positions” will have “psychological and          GENERAL
  medical examination” and be subject to “drug testing.” Existing officers receive            COMPLIANCE
  “random drug testing.”
  309. “CDP will conduct thorough, objective, and timely background investigations of         PARTIAL
  candidates for sworn positions” that cover various, expressly-listed topics.                COMPLIANCE
  310. “CDP will request to review personnel files from candidates’ previous                  OPERATIONAL
  employment and, where possible, will speak with the candidate’s supervisor(s)” and          COMPLIANCE
  maintain any “salient information . . . in candidate’s file.”
  311. “If a candidate has previous law enforcement experience, CDP will complete a           OPERATIONAL
  thorough, objective, and timely pre-employment investigation” addressing various            COMPLIANCE
  expressly-identified things.

Background

The Consent Decree requires the City to “integrate community and problem-oriented policing principles” into its
recruitment practices, and to “develop a recruitment policy and a strategic recruitment plan that includes clear
goals, objectives, and action steps for attracting qualified applicants from a broad cross-section of the community
. . . [and] establish[es] and clearly identif[ies] the goals of CDP’s recruitment efforts.”131

Where the Division Stands Now

After holding five academy classes for recruits in 2018, the Division welcomed an academy class of 51 new police
recruits on January 28, 2019. The Division’s goal is to hire an additional 100 officers in the first quarter of 2019.

The City released a proposed Recruitment and Hiring Plan to the public for review and feedback in May 2018.
The period of engagement and input, originally scheduled for August 10, 2018, was extended to September 28
following requests by several community groups for additional time. The CPC provided its comments on
September 28, together with its feedback regarding the CPOP Plan, highlighting community feedback such as
educational requirements and the recruitment of individuals with social work degrees.

The Parties and Monitoring Team worked to consider and incorporate the community’s concerns into the final
Recruitment and Hiring Plan as appropriate. On February 14, 2019, the Monitoring Team submitted the Plan for
the Court’s approval.132 The Court approved the Plan on February 20, 2019.133

The final Plan has three primary objectives: (1) “[i]ncrease staffing levels to effectively implement [the Division’s]
Community and Problem-Oriented Policing Plan (CPOP)”; (2) “[a]ttract and hire a diverse group of qualified

131
    Dkt. 7-1 ¶ 302.
132
    Dkt. 236.
133
    Dkt. 239.



                                                         68
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 71 of 85. PageID #: 4829
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



applicants from a broad cross-section of the community”; and (3) “[c]reate and maintain partnerships with
community stakeholders to enhance recruitment efforts.”134

As part of the Plan’s development, the City created a Public Safety Recruitment Team (“PSRT”) consisting of two
police officers, one firefighter, one emergency medical technician, and a CDP Sergeant who serves as the Officer-
in-Charge. The Officer-in-Charge reports directly to the Assistant Director of Public Safety and leads the
management and implementation of the Recruitment and Hiring Plan. PSRT team members are required to
receive training on effective recruitment techniques, including ways to increase diversity in law enforcement.135
PSRT members have already attended law enforcement recruitment conferences to enhance their understanding
of recruitment best practices.

The Recruitment and Hiring Plan appropriately understands that the Division’s new philosophical charge is to
institute CPOP at all levels. To that end, the PSRT is specifically charged to “[i]dentify those individuals most
suited with the ability to integrate the CPOP principles in the discharging of their duties.”136

The Recruitment and Hiring Plan includes specific steps to recruit a diverse pool of applicants, including the
establishment of a Hiring Process Review Committee that reviews “every aspect of the hiring process” including
“applications, entry level testing, interviews, and selection process” as well as “medical and psychological testing
and all aspects of training” to ensure that “minorities and women” are not being “excluded during the hiring
process by unfair standards that [do] not correlate with their ability to do the job.”137

The Plan also documents steps that the PSRT has already taken since 2018 to minimize unnecessary barriers for
potential applicants, such as waiving the $25 fee for the entry-level exam, offering a second chance at the physical
agility test, assigning four additional officers to conduct background investigations to shorten the wait time after
an applicant’s interview, and raising the pay of recruits in the Academy from $10.50 to $15/hour.138

Under the final Plan, the Director of Public Safety will analyze “data obtained through stakeholder outreach, the
annual report from the PSRT, the statistical information gathered by the City’s online application service provider,
NEOGOV, the testing consultant[,] and [the CDP’s Data Collection and Analysis Coordinator]” to assess “if the
recruitment strategy has resulted in attracting sufficient candidates to staff CDP at levels necessary for CPOP.”139

Progress and Tasks that Remain

Following the Court’s approval of the Recruitment and Hiring Plan, CDP must “report annually to the public its
recruiting activities and outcomes,” including disaggregated data on applicants, interviewees, and selectees, as well
as the successes and challenges to recruiting qualified and high-quality applicants.140 The Monitoring Team will


134
    Dkt. 236-1 at 7.
135
    Id. at 13-14.
136
    Id. at 15.
137
    Id. at 17.
138
    Id. at 19.
139
    Id. at 6.
140
    Dkt. 7-1 at ¶ 307.



                                                        69
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 72 of 85. PageID #: 4830
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



continue to gauge progress by analyzing the numbers and trends with respect to applicants and hired recruits, as
well as by working with the City to provide ongoing technical assistance on the Plan’s implementation.

D.           Performance Evaluations and Promotions

  Paragraph                                                                                Status of
                                                                                           Compliance
  312. “CDP will ensure that officers who police professionally and effectively are EVALUATION
  recognized through the performance evaluation process” and “are identified and DEFERRED
  receive appropriate consideration for performance.” Likewise, “poor performance”
  must be “reflected in officer evaluations.”
  313. “CDP will develop and implement fair and consistent practices to accurately EVALUATION
  evaluate officer performance in areas related to integrity, community policing, and DEFERRED
  critical police functions, on both an ongoing and annual basis.”
  314–15. CDP will use “a formalized system documenting the annual performance EVALUATION
  evaluations of each officer by the officer’s direct supervisor,” including an assessment DEFERRED
  of several expressly-listed areas. “Supervisors will meet with the employee whose
  performance is being evaluated to discuss the evaluation.”
  316. “CDP will hold supervisors of all ranks accountable for conducting timely, EVALUATION
  accurate, and complete performance evaluations of their subordinates.”                   DEFERRED
  317. “CDP will develop and implement fair and consistent promotion practices that EVALUATION
  comport with the requirements of this Agreement and result in the promotion of DEFERRED
  officers who are effective and professional.”
  318. In considering promotion, “appointing authority will consider” specific, expressly- EVALUATION
  listed “factors.”                                                                        DEFERRED

Background

CDP must address how it evaluates officer performance and must ensure that high-performing officers have
access to promotional opportunities. Under the Consent Decree, CDP must “develop and implement fair and
consistent practices to accurately evaluate officers” across a number of dimensions, including ‘integrity,
community policing, and critical police functions.’”141

Where the Division Stands

By the express agreement of the Parties and the Monitoring Team, CDP has not begun reforms to CDP’s
performance evaluations given the importance of first addressing policies and plans such as use of force,
community and problem-oriented policing, crisis intervention, and bias-free policing. For that reason, and
through no fault of its own, the City is not yet in compliance with the provisions of this section of the Decree.




141
      Dkt. 7-1 at ¶ 313.



                                                       70
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 73 of 85. PageID #: 4831
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Progress and Tasks that Remain

Now that the Parties have completed major plans and policies such as the CPOP Plan, the City and CDP need to
turn their attention to officer performance evaluations in 2019. This work, which must align with the new
expectations that have been set by new and Court-approved policies and plans, will greatly enhance professional
development opportunities within the Division and provide an important, non-punitive mechanism for employee
management.

E. Staffing

  Paragraph                                                                              Status of
                                                                                         Compliance
  319. “CDP will complete a comprehensive staffing study to assess the appropriate EVALUATION
  number of sworn and civilian personnel to perform the functions necessary for CDP to DEFERRED
  fulfill its mission, and satisfy the requirements of the” Consent Decree. / “CDP will
  develop an effective, comprehensive Staffing Plan that is consistent with its mission,
  including community and problem-oriented policing, and that will allow CDP to meet
  the requirements of” the Consent Decree.
  320. Requirements of CDP Staffing Plan.                                                EVALUATION
                                                                                         DEFERRED
  321. “The City and CDP will employ best efforts to implement the Staffing Plan over EVALUATION
  the period of time set forth in the approved plan.”                                    DEFERRED

Background

The Consent Decree contemplates changes to CDP’s approach to staffing, assigning, and deploying its personnel
within the city of Cleveland. Under the requirements of the Decree, for example, CDP must:

      •   Implement a “comprehensive and integrated policing model”142;
      •   Ensure rigorous investigations and reviews of force incidents143;
      •   Ensure that specialized crisis intervention officers “are dispatched to an incident involving an individual
          in crisis” and are able to “have primary responsibility for the scene”144;
      •   Provide supervisors with the ability to “review all documentation of investigatory stops, searches, and
          arrests”145;
      •   Ensure that officers can receive the training required by the Decree146;
      •   Provide necessary opportunity for “first line supervisors [to] provide close and effective supervision of
          officers”147;

142
    Dkt. 7-1 at ¶ 27.
143
    Id. at ¶¶ 93-130.
144
    Id. at ¶ 151.
145
    Id. at ¶ 168.
146
    Id. at ¶ 271.
147
    Id. at ¶ 322.



                                                         71
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 74 of 85. PageID #: 4832
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



      •   Implement the Early Intervention System148; and
      •   Provide supervisors with the ability to “conduct adequate random and directed audits of body worn
          camera recordings.”149

Altogether, these provisions require changes in the way that CDP will deploy its existing personnel and in the
overall number of sworn and civilian personnel. To that end, the Consent Decree specifically envisions a Staffing
Plan by which the CDP must “address and provide for each of the following:

      •   “[P]ersonnel deployment to ensure effective community and problem-oriented policing;
      •   “[A] sufficient number of well-trained staff and resources to conduct timely misconduct investigations;
      •   “[T]o the extent feasible, Unity of Command; and
      •   “[A] sufficient number of supervisors.”150

Where the Division Stands Now

In the current reporting period, the Division, working with the Department of Justice and Monitoring Team,
completed the Decree-mandated Staffing Plan. A draft of the Staffing Plan was released in late May 2018 for public
collaboration and feedback. The public comment period ran to September 28, 2018, following an agreed-upon
extension from August 10. The CPC provided its comments on September 28, along with its comments on the
two related CDP plans.

The Parties and Monitoring Team worked to incorporate the community feedback into the Staffing Plan as
appropriate. On February 21, 2019, the Monitoring Team recommended that the Court approve the Staffing
Plan.151

Under the Plan, CDP will adjust staffing of its Patrol Section based on a “workload-based model” that estimates
future staffing needs and deployment strategies by modeling current police activity. To do so, CDP analyzed past
citizen-initiated calls for service by location, time, type, officer time spent, and priority code.152 Critically, the
Staffing Plan allocates 20% of officers’ time to community engagement and collaborative problem-solving, in line
with the Division’s new CPOP expectations.153 The Plan also addresses ways for CDP to manage demand for
police services. For example, CDP responded to 23,659 residential and business alarms in 2015—of which 98%
were false. Under the Staffing Plan, the Division will look to “control and reduce the frequency of false alarms
through legislation and increasing the capacity of the Web-based Crime Reporting [an online reporting system
CDP currently uses for certain no-suspect or minor crime reports for which officers need not physically respond
to the scene][.]”154



148
    Id. at ¶ 326-36.
149
    Id. at ¶ 339.
150
    Id. at ¶ 320.
151
    Dkt. 240.
152
    Dkt. 240-1 at 20-29.
153
    Id. at 33.
154
    Id. at 44.



                                                         72
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 75 of 85. PageID #: 4833
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Progress and Tasks that Remain

Major sections of the Decree, not least of all the Division’s efforts to implement community and problem-oriented
policing, depend on the Division’s ability to make the operational changes contemplated in the approved Staffing
Plan. The Monitoring Team looks forward to working with the Division and City of Cleveland to ensure that
implementation of the Plan proceeds so that the Division is appropriately staffed to promote public and officer
safety.




                                                       73
       Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 76 of 85. PageID #: 4834
                                 Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



XII.      SUPERVISION

A.        First-Line Supervisors

  Paragraph                                                                                 Status of
                                                                                            Compliance
  322. “CDP will ensure that first line supervisors provide close and effective supervision PARTIAL
  of officers” in a number of express, specifically-identified ways.                        COMPLIANCE
  323. “CDP will develop and implement supervisory training for all new and current EVALUATION
  supervisors” that is “adequate in quality, quantity, type, and scope, and will include” a DEFERRED
  number of specific, expressly-listed topics.
  324. “Thereafter all sworn supervisors will receive adequate in-service management EVALUATION
  training.”                                                                                DEFERRED
  325. “CDP will hold supervisors directly accountable for the quality and effectiveness EVALUATION
  of their supervision, including whether supervisors identify and effectively respond to DEFERRED
  misconduct and ensure that officers effectively engage with the community.”

Background

The Consent Decree requires CDP to ensure “close and effective supervision of officers.”155 Supervisors must be
held “directly accountable for the quality and effectiveness of their supervision” of officers in their command.156

In addition to various new policies aimed at more clearly and specifically defining the various roles and duties of
supervisors, the Consent Decree requires supervisory training for “all new and current supervisors” covering an
array of important topics, including:

          ●    Techniques for effectively guiding and directing officers and promoting effective and constitutional
               police practices;
          ●    De-escalating conflict;
          ●    Evaluating written reports, including identification of canned or conclusory language that is not
               accompanied by specific facts;
          ●    Investigating officer uses of force;
          ●    Building community partnerships and guiding officers on this requirement;
          ●    Understanding supervisory tools such as the Officer Intervention Program and body worn cameras;
          ●    Responding to and investigating allegations of officer misconduct;
          ●    Evaluating officer performance;
          ●    Consistent disciplinary sanction and non-punitive corrective action;
          ●    Monitoring use of force to ensure consistency with policies; and
          ●    Legal updates.157


155
    Dkt. 7-1 ¶ 322.
156
    Id. ¶ 325.
157
    Dkt. 7-1 ¶ 323.



                                                         74
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 77 of 85. PageID #: 4835
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Where the Division Stands

In the current reporting period, the Division completed a revised Use of Force Supervisory Review Policy that
defines expectations and responsibilities for supervisors to investigate lower-level uses of force. The policy
outlines how supervisors responding to the scene of a use of force will conduct investigations and how supervisors
further up the chain of command will review completed investigations to ensure they are thorough, complete, and
supported by the preponderance of the evidence. It provides a strong foundation for the rigorous and objective
review of force incidents geared toward the Division continually learning and innovating—so that officers are
safer, outcomes are consistent with law and policy, and the community receives the quality of public safety
services that it needs. In light of the new policies, the Division has been working on a training curriculum to
instruct new and current supervisors on the new protocols established in the policy.

Separately, the Division has developed a supervisor training curriculum that covers principles of effective
supervision in policing, including how to effectively counsel officers and correct poorly written reports. The
training also covers the Division’s new progressive disciplinary matrix and newly-formalized philosophy of
community and problem-oriented policing. The Monitoring Team submitted the curriculum for the Court’s
approval on February 28, 2019.158

Progress and Tasks that Remain

Continuing Professional Development

As the Division is set to launch supervisor training in the coming months, the Monitoring Team here reiterates
that CDP needs to develop a clear track for supervisors to develop as professionals. Supervisors must be able to
think proactively and affirmatively about how to implement the Division’s mission, values, and strategic initiatives
on a day-to-day basis—and how to ensure that their officers are performing at the level necessary to keep
themselves and Cleveland safe.

The initial training on departmental policies and leadership skills outlined above, and occurring in the upcoming
months, is a good and critical start. However, this represents only one training initiative. As many police
departments across the country have increasingly recognized, the skills that make someone a good police officer—
in terms of handling unfolding incidents or responding to rapidly evolving situations—is not always consistent
with the skills necessary to be a good police manager—such as overseeing employees, implementing and executing
on the organization’s strategic goals, and the like. As with other professions, law enforcement increasingly
recognizes that good leaders are more often made rather than born, and that even individuals with strong
leadership skills can benefit from developing them further.

Consequently, the Monitoring Team looks forward to the development of a formalized leadership development
program that will greatly enhance the quality and effectiveness of the Division’s supervision. It may also help the
Division retain its best supervisors, who may better identify opportunities for professional and personal growth
as a result of a formalized career development pathway. The Division has previously indicated a desire and
willingness to build such a comprehensive program for its supervisors, perhaps in conjunction with local

158
      Dkt. 243.



                                                        75
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 78 of 85. PageID #: 4836
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



community partners like universities, businesses, and community organizations. The Monitoring Team looks
forward to CDP’s plans to create such a program.

Data and Compliance and Outcome Measures

As indicated above, the Consent Decree requires that CDP rigorously track instances in which supervisors identify
problematic performance and log supervisors’ responses when such problems are identified. The Division still
needs to implement a process for systematically tracking this information so that it can monitor, in aggregate, the
performance of its supervisors. In the short-term, the Monitoring Team will use such information, as required by
the Decree, to assist the Court in gauging compliance and outcomes. In the long-term, CDP and the City need this
information to understand how the organization, as a whole, is performing.

In the coming reporting periods, the Monitoring Team will evaluate and assess supervisor performance in the
context of its comprehensive reviews of use of force, crisis intervention, and Internal Affairs incidents or
investigations.

B.      Officer Intervention Program

 Paragraph                                                                                 Status of
                                                                                           Compliance
 326. CDP “will create a plan to modify its Officer Intervention Program (‘OIP’) to EVALUATION
 enhance its effectiveness as a management tool to promote supervisory awareness and DEFERRED
 proactive identification of potentially problematic behavior among officers.
 327. “CDP supervisors will regularly use OIP data to evaluate the performance of CDP EVALUATION
 officers across all ranks, units, and shifts.”                                            DEFERRED
 328. “The OIP will include a computerized relational database that will be used to EVALUATION
 collect, maintain, integrate, and retrieve data department-wide” in a number of specific, DEFERRED
 expressly-identified areas.
 329. “CDP will set threshold levels for each OIP indicator that will trigger a formal EVALUATION
 review, and the thresholds will allow for peer-group comparisons between officers DEFERRED
 with similar assignments and duties.”
 330–36. Additional express requirements of OIP.                                           EVALUATION
                                                                                           DEFERRED

Background

The Consent Decree requires that CDP’s existing Officer Intervention Program be comprehensively transformed
into an effective “early intervention system.” As the Monitoring Team has previously outlined, an early
intervention system (“EIS”) is a proactive risk assessment tool that provides individualized supervision and
support to officers in order to manage risk. An effective EIS relies on a database that logs information on officer
activities—such as stops, arrests, uses of force, firearm discharges, and citizen complaints—and allows police
departments to identify problematic patterns of behavior by individual officers or groups of officers who may
need non-disciplinary intervention and support. It also may flag issues such as operating a vehicle under the
influence.



                                                        76
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 79 of 85. PageID #: 4837
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019




Specifically, the Decree requires that the Division’s OIP become a broader management tool that will
“proactive[ly] identif[y] . . . potentially problematic behavior among officers” and provide non-punitive
supervisory intervention in order to “modify officers’ behavior and improve performance” before the
performance gradually becomes deep-seated and difficult to resolve.159 The Decree requires the implementation
and use of “a computerized relational database that will be used to collect, maintain, integrate, and retrieve data
department-wide” on officer performance.160

Where the Division Stands

Since early on in the implementation of the Consent Decree, the Monitoring Team has supported the City and
CDP’s decision to postpone the development of an EIS while the City makes the information technology upgrades
that are essential to an EIS. Those upgrades have since included improvements to the Division’s use of IAPro (and
its related web-based interface, BlueTeam, that will serve as an online “one-stop shop” for information about
officer performance in the field); developing a stronger data platform that can manage improvements in data
collection methods; an enhanced focus on tracking discipline; and a successful reshaping of the crisis intervention
response.161

In the current reporting period, the Parties and Monitoring Team have begun the first steps of planning to develop
an EIS that meets the requirements of the Consent Decree. The Fourth-Year Monitoring Plan contemplates
initial work on implementing the type of early intervention process and infrastructure—informed by the broader
and more reliable data being logged in the Division’s IAPro and other data systems—that the Decree requires. The
transition of some of the Division’s existing work in the employee assistance area to the Early Intervention System
required by the Decree promises to provide CDP and its personnel with an additional professional development
opportunity—especially as, contrary to the impression of some personnel currently, the Decree-required process
is a non-disciplinary process aimed at enhancing an officer’s performance and skills so that minor issues do not
become significant problems in the future.

Progress and Tasks that Remain

Creation of EIS Plan

As described above, the City and Division plan to draft an EIS Plan in the upcoming reporting period. The
Monitoring Team looks forward to working with the Division to develop a plan that satisfies the Decree’s
requirements.

Training & Involvement of Supervisors

As the CDP formalizes its EIP plan, supervisors must be required (and should be trained) to regularly review
performance data generated by the EIP. When an officer reaches some defined threshold in a performance


159
    Dkt. 7-1 at ¶¶ 326-27.
160
    Id. at ¶ 328.
161
    See Third Semiannual Report at 69.



                                                        77
     Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 80 of 85. PageID #: 4838
                               Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



indicator, a supervisor will be required to assess an officer’s performance to determine whether it may appropriate
to intervene and identify and treat any issue that may impacting the officer’s work.

Training & Communication with Officers

It is clear that the success of a revamped EIS will substantially hinge on the Division’s communication with its
officers. As the Parties turn their attention to the Early Intervention System, communication and outreach to
officers about what the system is and does—and what it is not and does not do—will be critical. The EIS
contemplated by the Consent Decree is entirely non-punitive. If an officer’s performance is reviewed in the
context of EIS, the most that may happen is for the officer to eventually be paired with training, mentoring,
counseling, or coaching that might serve as appropriate professional development resources.

CDP’s EIS plan, policies, training, and implementation going forward will need to establish definitively that the
purpose of EIS will not be to find new ways to discipline officers. Again, however the Division ultimately crafts
its plan to implement an EIS, it must properly ensure that all employees understand what an EIS is—a non-
punitive system for the benefit of people’s careers and professional growth—and what it is not.

Compliance with EIS Plan & Policies

After an EIS plan is developed, relevant policies written and approved, and training for supervisors and officers
developed and completed, the EIS will need to be implemented. Once it is and has been actively running for a
material period of time, the Monitoring Team will need to audit and evaluate whether the system is proceeding
according to the requirements of policy and the Consent Decree—and whether, ultimately, it appears to be
assisting the Division in identifying instances where non-disciplinary action or intervention might enhance the
quality of officer performance.

C.      Body-Worn Cameras

 Paragraph                                                                               Status of
                                                                                         Compliance
 337. “If CDP chooses to use body worn cameras, CDP will provide clear guidance and PARTIAL
 training on their use, and will implement protocols for testing equipment and COMPLIANCE
 preservation of recordings to foster transparency, increase accountability, and build
 trust, while protecting the privacy rights of individuals.”
 338. “Supervisors will review recordings related to any incident involving at least a PARTIAL
 Level 2 or 3 use of force; injuries to officers; and in conjunction with any other COMPLIANCE
 supervisory investigation.”
 339. “Supervisors will conduct adequate random and directed audits of body worn PARTIAL
 camera recordings” and “incorporate the knowledge gained from this review into their COMPLIANCE
 ongoing evaluation and supervision of officers.”
 340. “Officers will be subject to the disciplinary process for intentional or otherwise PARTIAL
 unjustified failure to activate body worn cameras in violation of CDP policy.”          COMPLIANCE




                                                        78
      Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 81 of 85. PageID #: 4839
                                Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



Background

Although the “use of body worn cameras is not required by” the Consent Decree, the Decree does contain
requirements if CDP decides to institute body cameras. 162 In 2013, the Division elected to begin using body-worn
cameras. In doing so, CDP was required to “provide clear guidance and training on their use, and . . . implement
protocols for testing equipment and preservation of recording to foster transparency, increase accountability, and
build trust, while protecting the privacy rights of individuals.”163 The Decree also outlines supervisor
responsibilities for viewing recorded incidents and “conduct[ing] adequate random and directed audits of body
worn camera recordings . . . to confirm compliance with CDP policy.”164 CDP must also ensure that officers are
“subject to the disciplinary process for intentional or otherwise unjustified failure to activate” cameras in
accordance with CDP policy.165

Currently, all CDP patrol officers are equipped with and trained on Taser’s Axon 2 camera system and are
expected, under policy, to use them when working a City shift.

Where the Division Stands

In the current reporting period, the Parties and Monitoring Team have not actively worked on issues relating to
body-worn cameras. The Division and its officers continue to use them to capture incidents and interactions.

Progress and Tasks that Remain

Compliance with Policy

The Monitoring Team will need to ensure that the Division is meaningfully holding officers accountable for
complying with the various provisions of the body-worn camera policy—not just in isolated incidents, or when
other problematic performance brings a certain incident to the Division’s attention, but across time and officers.

Especially as the Parties and Monitoring Team have discussed issues related to staffing and supervision, it is clear
that mandates related to first-line supervisors watching body-worn camera footage may be taking supervisors
away from responding to incidents on the street, where they could more proactively and affirmatively shape the
performance of officers under the command. As discussed in the prior Semiannual Report, the City and Division
may still wish to reconsider the “random reviews” of camera footage outlined in the approved body-worn camera
policy166 in favor of a more effective review mechanism that both ensures widespread officer compliance with the
policy but does not overly burden supervisors and detract from time they should be spending supervising
officers.167



162
    Dkt. 7-1 at ¶ 337.
163
    Id. at ¶ 337.
164
    Id. at ¶¶ 338-39.
165
    Id. at ¶ 340.
166
    Dkt. 92-1 at 7-8, Section IV-A.
167
    Fifth Semiannual Report at 141.



                                                        79
        Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 82 of 85. PageID #: 4840
                                   Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



General Policy for the Release of CDP Information

The Monitoring Team has previously expressed reservations about how community members, under CDP’s new
policy, are able to view incidents captured on body-worn cameras.168 The Team again encourages the City and
CDP to establish a general policy for the release or provision of records, data, or information—including the
footage of body-worn cameras—to the public. For as much as body-worn cameras are associated with
transparency and accountability in the national policing discourse, they can only achieve their desired purpose if
appropriate protocols are in place that establish when and how the public is able to access such information.




168
      See Dkt. 92 at 16-17; Fifth Semiannual Report at 141.



                                                              80
    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 83 of 85. PageID #: 4841
                              Cleveland Police Monitoring Team | Sixth Semiannual Report | March 2019



XIII.   UPCOMING COMPLIANCE & OUTCOME ASSESSMENTS

The preceding sections have summarized some of the overall aggregate data available that bears on compliance
with topics such as use of force.

In the upcoming reporting period, the Monitoring Team’s structured compliance reviews and audits—both
qualitative and quantitative—will intensify. In June 2019, the next year of comprehensive outcome assessment
data will be available. Likewise, as new and revised policies become finalized and move towards real world
implementation, the Monitoring Team will continuously assess the Division’s ability to produce safe, effective,
and constitutional policing.

The Team looks forward to the City and CDP completing necessary data infrastructure improvements, which will
allow the Team to review both qualitative and quantitative outcomes to observe how the terms of the Consent
Decree—covering community policing, bias-free policing, stops and arrests, crisis intervention, use of force,
accountability, and more—are affecting the actual day-to-day operations of the Cleveland Division of Police.




                                                      81
Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 84 of 85. PageID #: 4842




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    Case: 1:15-cv-01046-SO Doc #: 246 Filed: 03/05/19 85 of 85. PageID #: 4843



                              CERTIFICATE OF SERVICE

       I hereby certify that on March 5, 2019, I served the foregoing document entitled Notice

Submitting Monitoring Team’s Sixth Semiannual Report via the court’s ECF system to all counsel

of record.




                                                  /s/ Matthew Barge
                                                  MATTHEW BARGE
